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                 EXHIBIT 1
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                                                    Thursday, September 23, 2021 at 11:52:35 Paciﬁc Daylight Time


Subject:    NOTICE to Defendant Kunal Bansal - Service of Legal Process - Bungie, Inc. v. Bansal, et al.,
            Case No. 2:21-cv-1111-TSZ (W.D. Wash.)
Date:       Thursday, September 23, 2021 at 11:40:46 AM Paciﬁc Daylight Time
From:       Stacia Lay
To:         kunalbansal922@gmail.com
CC:         Venkat Balasubramani
Priority:   High
ADachments: Dkt. 1 - Complaint (Bungie v. Bansal, et al.).pdf, Dkt. 10 - Order granXng mtn for alt service
            (Bungie v. Bansal, et al.).pdf, Dkt. 6 - Issued Summons (Bungie v. Bansal, et al.).pdf

Attn: Defendant Kunal Bansal aka “Lavi”

We are attorneys for Plaintiff Bungie, Inc. in the above-referenced matter.

Pursuant to the Order of the United States District Court for the Western District of Washington
dated September 22, 2021 (a copy of which is attached for your reference), you – Defendant Kunal
Bansal – are hereby served with the attached Summons and Complaint in the case captioned
Bungie, Inc. v. Bansal, et al., Case No. 2:21-cv-1111-TSZ, pending in the aforementioned Court.

The name and address of the Court is the United States District Court for the Western District of
Washington, 700 Stewart Street, Suite 2310, Seattle, Washington 98101. The name and contact
information of Plaintiff’s attorneys are set forth in the Summons.

Sincerely,

---
Stacia N. Lay
Attorney
focal PLLC | 900 1st Ave. S., Suite 201, Seattle, WA 98134 | p: 206.508.0498 | f: 206.260.3966




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 7                                    UNITED STATES DISTRICT COURT
                                     WESTERN DISTRICT OF WASHINGTON
 8                                             AT SEATTLE
 9

10     BUNGIE, INC., a Delaware corporation,           Case No. 2:21-cv-1111
               Plaintiff,
11                                                     COMPLAINT
       v.
12
       KUNAL BANSAL, an individual, d/b/a              JURY TRIAL DEMANDED
13     LAVICHEATS.COM; and DOES 1-30,
       inclusive,
14
               Defendants.
15

16          Plaintiff Bungie, Inc. (“Bungie”), for its Complaint against Defendants Kunal Bansal,
17   d/b/a Lavicheats.com, and Does 1 through 30, hereby alleges as follows:
18                                            INTRODUCTION
19          1.       Bungie is the owner of the online, multiplayer first-person shooter video game
20   franchise “Destiny.” Bungie’s most recent chapter in the Destiny franchise—Destiny 2—has
21   been commercially successful and drawn together a strong and enthusiastic community, with
22   tens of millions of Destiny 2 players.
23          2.       Defendants market, promote, distribute, sell and/or support software, known as
24   “cheats” or “hacks”, for use while playing Destiny 2 that give players using Defendants’ cheats
25   an unfair advantage over legitimate players in the Destiny 2 shared world. These cheats devalue
26   the playing experience for Destiny 2 and have caused, and continue to cause, serious and
27   irreparable harm to Bungie.
                                                                                       focal PLLC
       COMPLAINT                                                                 900 1st Ave. S., Suite 201
       (Case No. 2:21-cv-1111) – 1                                              Seattle, Washington 98134
                                                                                 telephone (206) 529-4827
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 1          3.       Bungie asserts claims against Defendants for trafficking in circumvention devices

 2   under the Digital Millennium Copyright Act, copyright infringement, trademark infringement

 3   and other violations of the Lanham Act, as well as state law claims. Bungie is entitled to

 4   monetary damages and injunctive and equitable relief for Defendants’ serious violations of

 5   Bungie’s rights as described herein.

 6                                            THE PARTIES

 7          4.       Bungie is a corporation formed under the laws of the State of Delaware, with its

 8   principal place of business located in Bellevue, Washington.

 9          5.       Upon information and belief, Defendant Kunal Bansal, a/k/a “Lavi” (“Bansal”

10   and, collectively with the other defendants, “Defendants”), is an individual residing in Bathinda,

11   Punjab, India. Upon information and belief, Bansal is the owner, operator and/or administrator of

12   the Lavicheats website, located at lavicheats.com (the “Lavicheats Website”), and may also act

13   as a moderator on the Lavicheats Website and provide support to Lavicheats customers. Upon

14   information and belief, among other activities, Bansal assists customers in completing the

15   purchase of Lavicheats, responds to customers’ questions and complaints, and actively promotes

16   Lavicheats on other platforms or websites.

17          6.       Upon information and belief, Doe 1 a/k/a “Maximus” is a member of the

18   Lavicheats support staff whose activities include, among other things, managing customer

19   support tickets. Upon information and belief, Maximus also promotes Lavicheats on other

20   platforms or websites.

21          7.       Upon information and belief, Doe 2 a/k/a “Alfred” and/or “ShaktiMaan” is a

22   member of the Lavicheats support staff whose activities include, among other things, managing

23   customer support tickets. Upon information and belief, Alfred/ShaktiMaan also promotes

24   Lavicheats on other platforms or websites.

25          8.       Upon information and belief, Doe 3 a/k/a “Eivor” and/or “Oracle” is a member of

26   the Lavicheats support staff whose activities include, among other things, managing customer

27   support tickets.
                                                                                        focal PLLC
       COMPLAINT                                                                  900 1st Ave. S., Suite 201
       (Case No. 2:21-cv-1111) – 2                                               Seattle, Washington 98134
                                                                                  telephone (206) 529-4827
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 1          9.       The true names and capacities, whether individual, corporate, associate,

 2   partnership or otherwise of the remaining Doe defendants are unknown to Bungie at this time,

 3   who therefore sues such defendants by fictious names and aliases. Upon information and belief,

 4   each of the Doe Defendants is legally responsible in some manner for the events and happenings

 5   herein referred to and described. Bungie will seek leave of Court to amend this Complaint to

 6   show the true names and capacities of the Doe Defendants when the same have been ascertained.

 7          10.      Upon information and belief, each of the Defendants was the agent of each of the

 8   other Defendants and, in engaging in the actions alleged herein, was acting within the course and

 9   scope of such agency.

10                                    JURISDICTION AND VENUE

11          11.      This Court has subject matter jurisdiction over this action under

12   28 U.S.C. §§ 1331 and 1338 and 15 U.S.C. § 1121(a) because it alleges, among other claims,

13   violations of the Copyright Act, 17 U.S.C. § 101 et seq., the Lanham Act, 15 U.S.C. § 1051 et

14   seq., and the Digital Millennium Copyright Act, 17 U.S.C. § 1201.

15          12.      This Court has supplemental jurisdiction over Bungie’s related state law claims

16   under 28 U.S.C. § 1367(a) as those claims are so related to the claims under federal law as to

17   form part of the same case or controversy.

18          13.      This Court has personal jurisdiction over Defendants because, as more fully

19   described herein, Defendants have willfully infringed Bungie’s copyrights and trademarks,

20   trafficked in technology that circumvents Bungie’s technological measures that control access to

21   Bungie’s copyrighted Destiny 2 game, engaged in unfair methods of competition and unfair and

22   deceptive acts or practices directed at Bungie, and committed other intentional tortious acts

23   directed to Washington and the United States that have caused Bungie extensive damages. As a

24   result, Defendants have purposefully directed their activities to Washington and the United

25   States. Further, Defendants knew or should have known that their intentional and/or willful acts

26   would cause harm to Bungie in Washington where it is headquartered.

27          14.      Venue is proper in this District under 28 U.S.C. § 1391(b) because a substantial
                                                                                         focal PLLC
       COMPLAINT                                                                   900 1st Ave. S., Suite 201
       (Case No. 2:21-cv-1111) – 3                                                Seattle, Washington 98134
                                                                                   telephone (206) 529-4827
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 1   part of the events or omissions giving rise to the claim occurred, and Bungie’s injuries were

 2   suffered, in this judicial district.

 3                                          FACTUAL ALLEGATIONS

 4                                     Bungie and the Destiny Franchise

 5           15.     Bungie is the developer, distributor, and publisher of the online multiplayer first-

 6   person shooter video game franchise “Destiny.”

 7           16.     Destiny first launched in September 2014 and attracted more than 10 million

 8   players worldwide. The latest iteration of the game, Destiny 2, was first released for consoles

 9   (Sony Playstation 4 and Microsoft Xbox One) in September 2017, and for PCs in October 2017.

10   Since the release of Destiny 2, Bungie has released for sale multiple expansions, or content add-

11   ons, for the game, including the most recent expansion: “Destiny 2: Beyond Light,” released in

12   November 2020.

13           17.     Destiny 2 is an open, shared-world multiplayer game in which players interact

14   with one another. The game offers two main categories of play: “PvE” or player-versus-

15   environment, in which players cooperate to fight against computer-controlled opponents

16   (“NPCs” or non-player characters), and “PvP” or player-versus-player, in which players compete

17   against one another. Players can choose to complete some activities on their own or with a team,

18   but many activities automatically cause players to group up, or may be difficult to complete

19   without “fireteams” of multiple players (e.g., three-player “Strikes” or six-player “Raids”).

20           18.     Destiny 2’s PvP matches are highly competitive and involve rare and highly-

21   sought after “loot” including weapons and armor that impact a player’s progression, as well as

22   rewards and cosmetic options that permit players to show off their success to other players in-

23   game. PvE activities also require skill and coordination among players to complete in order to

24   obtain more powerful or sought-after gear, rewards, and weapons, which in turn affect players’

25   progression and prestige and other aspects of the gameplay experience.

26           19.     The existence of “cheats” or “hacks”—software designed to give players an unfair

27   advantage—has a significant detrimental impact on both types of activities in Destiny 2 by
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 1   cheapening the experience for legitimate players, undermining the significant time and effort

 2   many players put into developing their skills and the sense of achievement they gain from

 3   conquering difficult challenges through cooperation and skill.

 4          20.      The market for online, first-person shooter games (as well as the broader market

 5   for online, multiplayer games) is highly competitive as players have many games to choose from.

 6   As a result, Destiny 2’s, and therefore Bungie’s, continued success depends upon building long-

 7   term relationships with players by, in part, maintaining the high quality and challenge of the

 8   gameplay experience and regularly releasing new and interesting expansions for Destiny 2.

 9          21.      Because Destiny 2 is a “free-to-play” game, much of Bungie’s revenue is

10   generated by engaging and retaining the long-term interest of players who wish to enhance their

11   Destiny 2 experience by purchasing “virtual goods” (e.g., cosmetic upgrades and other in-game

12   enhancements) or additional content or expansions for the game. This revenue, in turn, enables

13   Bungie to continue to support, update, and develop new content for Destiny 2 to foster and

14   maintain these long-term relationships with Destiny 2 players.

15          22.      The presence of cheats or hacks like Defendants’ Lavicheats for Destiny 2 present

16   a significant and ongoing threat to Bungie’s commercial success. Cheaters gain an unfair

17   advantage by using cheating software. Actual cheating and the mere perception of cheating

18   frustrate players in the PvP modes, which are a significant draw for player retention; but also in

19   the PvE modes, where success against difficult content can yield sought-after loot, rewards, and

20   notoriety. The markers for in-game success (e.g., rare weapons and armor, emblems, and seals,

21   among others) are visible to other players in the shared world and are desirable at least in part

22   due to their scarcity. Defendants’ Lavicheats thus devalue the effort invested by legitimate

23   players and the rewards they would have obtained but for the cheating players, or the rewards

24   that cheating players obtain through illegitimate means. As a result, such legitimate players can

25   and do simply stop playing Destiny 2 in favor of one of the many other available games.

26          23.      Thus, the existence of cheats—including but not limited to Defendants’

27   Lavicheats—causes significant harm to Bungie’s commercial success as well as its more
                                                                                         focal PLLC
       COMPLAINT                                                                   900 1st Ave. S., Suite 201
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 1   intangible, but no less important, reputation and goodwill in the Destiny 2 community.

 2                           Bungie’s Intellectual Property Rights in Destiny 2

 3          24.      Bungie is the owner of all rights, title and interest in the copyrights in Destiny 2

 4   and all expansions, including but not limited to, the computer software and the audiovisual works

 5   and screen displays that software creates. These copyrights are the subject of U.S. Copyright

 6   Registration Nos. PA 2-280-030, PA 2-282-670, TX 8-933-655, and TX 8-933-658. These

 7   copyrights and the corresponding registrations are referred to herein collectively as the “Destiny

 8   Copyrights.” True and correct copies of the registration certificates for the Destiny Copyrights

 9   are attached hereto as Exhibits 1-4.

10          25.      Bungie is also the owner of numerous trademarks associated with the Destiny

11   franchise, including but not limited to: DESTINY; DESTINY & design (subject of U.S.

12   Registration No. 4,321,315); DESTINY 2; DESTINY 2: LIGHTFALL (subject of U.S.

13   Application Serial No. 88/955,399); DESTINY 2: THE WITCH QUEEN (subject of U.S.

14   Application Serial No. 88/955,395); DESTINY 2: BEYOND LIGHT (subject of U.S.

15   Application Serial No. 88/955,392); and DESTINY GUARDIANS (subject of U.S. Application

16   Serial No. 90/738,891) (collectively, the “DESTINY Marks”).

17          26.      Bungie began using the DESTINY and DESTINY & design marks in commerce

18   at least as early as February 1, 2013, and since that time, Bungie’s use of the marks has been

19   continuous and exclusive in connection with video game software.

20          27.      Bungie’s DESTINY & design mark, the subject of U.S. Registration

21   No. 4,321,315 is pictured below:

22

23

24

25

26

27   A true and correct copy of the registration certificate for the DESTINY & design mark is
                                                                                           focal PLLC
       COMPLAINT                                                                     900 1st Ave. S., Suite 201
       (Case No. 2:21-cv-1111) – 6                                                  Seattle, Washington 98134
                                                                                     telephone (206) 529-4827
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 1   attached hereto as Exhibit 5.

 2           28.     Bungie has expended considerable time and resources in marketing, advertising,

 3   promoting and distributing video games (and other goods and services) under the DESTINY

 4   Marks. Destiny 2, in connection with which the DESTINY Marks are used, has an estimated

 5   player base of more than 30 million players.

 6           29.     Bungie has developed substantial goodwill and strong consumer recognition in

 7   the DESTINY Marks, which have come to be uniquely associated with Bungie. As a result,

 8   Bungie has established strong rights in the DESTINY Marks, which are entitled to broad

 9   protection.

10                             Bungie’s Efforts to Combat Cheats and Hacks

11           30.     As an unfortunate consequence of the extraordinary popularity and longevity of

12   the Destiny franchise, Destiny 2 is under constant threat from those seeking to profit off of

13   Bungie’s success as well as cheaters who wish to gain an unfair advantage over other players by

14   selling “hacks” or “cheats”. To combat the actions of such unscrupulous individuals, Bungie

15   employs both contractual and technological measures.

16   A.      Bungie’s Limited Software License Agreement

17           31.     As for the contractual measures, in order to access, download, or play Destiny 2,

18   players must expressly agree to Bungie’s Limited Software License Agreement 1 (“SLA”). The

19   entire SLA is displayed to users at the time they install Destiny 2. If a user refuses to consent to

20   the SLA, the installation stops and the program closes.

21           32.     Destiny 2 is made available exclusively through Bungie’s proprietary servers and

22   matching systems. Access to the servers also requires agreement to the SLA. Therefore, a user

23   may not lawfully obtain access to or play Destiny 2 without expressly agreeing to the SLA.

24           33.     Bungie’s SLA includes a limited license agreement between Bungie and its users

25
       1
        Bungie’s SLA is available at https://www.bungie.net/7/en/Legal/SLA. Bungie recently (as of
26   August 17, 2021) modified its SLA. However, the modified version does not differ materially from the
     version in effect prior to August 17, 2021 with respect to the relevant provisions discussed herein. A true
27   and correct copy of the SLA in effect prior to August 17, 2021 is attached hereto as Exhibit 6.
                                                                                               focal PLLC
       COMPLAINT                                                                         900 1st Ave. S., Suite 201
       (Case No. 2:21-cv-1111) – 7                                                      Seattle, Washington 98134
                                                                                         telephone (206) 529-4827
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 1   under which users are licensed to install and use one copy of Destiny 2 for non-commercial

 2   purposes. This limited license is subject to a number of restrictions, including but not limited to

 3   the user’s agreement not to: (a) “exploit [Destiny 2] or any of its parts commercially”; (b) “copy,

 4   reproduce, distribute, display or use any part of [Destiny 2] except as expressly authorized by

 5   Bungie herein”; (c) “hack or modify [Destiny 2], or create, develop, modify, distribute, or use

 6   any unauthorized software programs to gain advantage in any online or multiplayer game

 7   modes”; and (d) “receive or provide ‘boosting services,’ to advance progress or achieve results

 8   that are not solely based on the account holder’s gameplay.”

 9   B.     Bungie’s Anti-Cheat Technologies

10          34.      As to the technological measures Bungie uses to combat cheats and hacks, a

11   general explanation of how online, multiplayer games operate is necessary.

12          35.      First, players must install the game software client on their computers. A software

13   client is a set of files that include artwork, 3D models, textures (i.e., artwork applied to surfaces),

14   “skins” (i.e., artwork applied to character models), and an underlying game engine that creates

15   the virtual environment and enables player interaction with the environment, NPCs, and other

16   players.

17          36.      Second, the software client must connect to a remote server (the game server)

18   owned and operated by or on behalf of the game publisher. The server runs software that

19   connects players to each other and generates the dynamic virtual world. The game server must

20   rapidly receive and transmit a vast amount of data among the players, and that data is used by the

21   software client to make changes on the player’s computer screen.

22          37.      Both components are integral to the operation of the game and the game cannot be

23   played without both the software client and the game server. Thus, the copyrights in an online,

24   multiplayer, shared world game extends to the dynamic virtual world created by the interactions

25   between software client and game server, as well as the specific art files and assets contained in

26   the software client.

27          38.      Bungie employs anti-cheat technologies both within the game software client and
                                                                                           focal PLLC
       COMPLAINT                                                                     900 1st Ave. S., Suite 201
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 1   on Bungie’s servers. These technologies operate whenever the software client is running and

 2   must operate in order for users to play Destiny 2. These anti-cheat technologies are specifically

 3   designed to detect and/or prevent players from accessing, reading, writing, or modifying critical

 4   data used to enable multiplayer online gameplay.

 5          39.      In the ordinary course of operation, Bungie’s anti-cheat software is designed to

 6   detect whether malicious (e.g., unauthorized) code or data has been inserted into a computer’s

 7   memory or otherwise determine whether a Destiny 2 player is using cheating software such as

 8   Defendants’ Lavicheats. If the anti-cheat software detects the presence of such cheating software,

 9   the player may be denied access to Destiny 2’s multiplayer servers and/or reported to Bungie for

10   disciplinary action.

11          40.      With respect to the disciplinary action, when Bungie detects that a player is using

12   cheating software, the player’s account may be suspended or banned, in which case the player

13   may no longer access the game or Bungie’s Destiny 2 servers. Bungie may also implement a

14   “Hardware ID” (“HWID”) ban against a player using cheating software. To implement a HWID

15   ban, Bungie obtains configuration data from the player’s PC sufficient to uniquely identify the

16   PC and denies subsequent access to the game by players using that PC. An HWID ban detects

17   and prevents banned players from obtaining access to Destiny 2 merely by creating a new

18   account using a different email address or using another player’s account from the same PC.

19          41.      Because Bungie’s anti-cheat software is designed to detect when players are

20   running cheating software for Destiny 2, such cheating software is specifically designed to evade

21   detection by Bungie’s anti-cheat technologies. The cheat may accomplish such avoidance or

22   circumvention by concealing or encrypting itself or by disabling the anti-cheat software.

23          42.      Combatting the use of cheats or hacks in connection with Destiny 2 is an ongoing

24   battle. Developers and distributors of cheating software, like Defendants, are continuously

25   modifying the cheats or hacks in order to avoid detection by Bungie’s anti-cheat technologies.

26   That, in turn, requires Bungie to continuously expend substantial time and resources improving

27   and enhancing its anti-cheat technologies to protect the gameplay experience for legitimate
                                                                                         focal PLLC
       COMPLAINT                                                                   900 1st Ave. S., Suite 201
       (Case No. 2:21-cv-1111) – 9                                                Seattle, Washington 98134
                                                                                   telephone (206) 529-4827
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 1   players.

 2                 Defendants’ Marketing, Distribution and Sale of Cheats and Hacks

 3           43.     Upon information and belief, Defendants are engaged in marketing, advertising,

 4   promoting, distributing, selling, and/or supporting cheats or hacks for use in connection with

 5   Destiny 2 (collectively, the “Lavicheats”). Upon information and belief, some of the Defendants

 6   own, operate, administer, and/or moderate the Lavicheats Website and its community forums

 7   while others provide customer support and/or technical assistance; some Defendants may do

 8   both.

 9           44.     The Lavicheats Website boasts “Next Level Cheating” and promotes Defendants’

10   Lavicheats as “the best Cheats and Hacks for all games.” In addition to cheats or hacks for

11   Destiny 2, Defendants offer cheating software for use in connection with numerous other games

12   from other game developers, including but not limited to Apex Legends, Overwatch, Call of

13   Duty, Rainbow Six, League of Legends, Fortnite, Rust, and Valorant, as shown below:

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25           45.     Upon information and belief, Defendants advertise, promote, distribute, sell,
26   and/or provide support for two cheat software packages for Destiny 2: “Delta” and “Premium”,
27   as shown on the “store” page for Destiny 2 on the Lavicheats Website:
                                                                                        focal PLLC
       COMPLAINT                                                                  900 1st Ave. S., Suite 201
       (Case No. 2:21-cv-1111) – 10                                              Seattle, Washington 98134
                                                                                  telephone (206) 529-4827
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 7          46.      The prices for the “Destiny Delta” package range from $9.99 to $129, and the

 8   “Destiny Premium” package range from $19.90 to $249, as shown below:

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 1          47.      Defendants’ Lavicheats for Destiny 2 offer a variety of features to purchasers,

 2   including but not limited to: (a) an “Aimbot” feature that automates aiming by allowing the

 3   cheating player to “snap” to a target and quickly take out other players (an action that would

 4   otherwise test the player’s skill); (b) “ESP” features that display information that would not

 5   ordinarily be visible to the player, such as the location of other players or NPCs in order to target

 6   and take out those players or NPCs more quickly than would be possible for legitimate players;

 7   (c) technologies that mask players’ use of the cheats while streaming their gameplay;

 8   (d) miscellaneous cheats that modify gameplay, such as providing unlimited ammo or instantly

 9   respawning the player’s character after it is killed; and (e) HWID Spoofers, which allow players

10   to hide information about their computer systems to avoid detection by anti-cheat technologies or

11   to use computers that have been banned by Bungie (i.e., that no longer have authorized access to

12   Destiny 2).

13          48.      Emphasizing that the “best ways” to “get ahead” in games like Destiny 2 are “the

14   ones that won’t get you caught,” the Lavicheats Website describes the typical features of these

15   cheats (and again highlights how to avoid “getting caught and banned”):

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25          49.      Offering purchasers of Defendants’ Lavicheats for Destiny 2 the ability to remain

26   undetected while using the cheats is an essential selling point of the cheating software. For

27   example, on the Lavicheats Website, Defendants tout their offering of the “Best Undetected
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 1   Destiny 2 hacks and cheats”. Defendants promote the Lavicheats for Destiny 2 as “Undetected”,

 2   emphasize that the best cheats (including Lavicheats) offer “quality code that will slide through

 3   undetected during gameplay”, and then offer an “Order Now” button for the “Hack” download,

 4   as shown in the following excerpted article from the Lavicheats Website:

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25          50.      Defendants’ Lavicheats for Destiny 2 also includes features specifically designed
26   to aid the cheater in avoiding detection by Bungie. For example, the graphical elements of the
27   Lavicheats for Destiny 2 can be disabled to hide use of the cheats while players are streaming
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 1   their gameplay. Similarly, the “smoothing” feature modifies Aimbot in order to mask the fact

 2   that the cheater is auto-aiming via the cheating software. In fact, at the end of the same article on

 3   the Lavicheats Website excerpted immediately above, Defendants specifically call out Bungie’s

 4   anti-cheat measures and appear to contrast the “low quality, free hacks that are floating around”

 5   with the purportedly high-quality, “undetected” Lavicheats offered by Defendants for Destiny 2:

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10          51.      In fact, remaining undetected is so vital to the success of Defendants’ Lavicheats

11   for Destiny 2—and therefore to Defendants’ ability to reap profits from their unlawful

12   activities—that Defendants maintain a “Status Page” that notifies users whether a Lavicheat is

13   “Safe to Use” (i.e., “Working”):

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26          52.      Additionally, in marketing, promoting, selling, and/or distributing Lavicheats for
27   Destiny 2, Defendants prominently feature the DESTINY Marks, as well as images and artwork
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 1   from Destiny 2.

 2          53.      For example, the “store” pages for Defendants’ Lavicheats for Destiny 2

 3   prominently display the DESTINY Marks and artwork from Destiny 2 in close proximity to an

 4   “Add to cart” button to purchase the cheats, as shown below:

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21                         Players’ Use of Defendants’ Lavicheats for Destiny 2
22          54.      Upon information and belief, Defendants’ Lavicheats for Destiny 2 are distributed
23   via a loader program obtained from a remote server maintained by or otherwise accessible to
24   Defendants. After purchasing one of the Lavicheats Destiny 2 cheat packages, the loader
25   prompts the purchaser for a login and validates the Lavicheats license.
26          55.      Upon information and belief, after the Lavicheats license is verified, the loader
27   “injects” the malicious cheating software code into the Destiny 2 software client on the player’s
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 1   computer. This code modifies the behavior of the Destiny 2 software client and thereby causes

 2   the software to operate and appear differently for the cheating player than it does for the non-

 3   cheating player. These modifications are created with the intent and effect of providing the

 4   cheating player with a comparative—and unfair—advantage over the non-cheating player.

 5          56.      For example, Defendants’ Lavicheats create a user interface that allows the

 6   cheating players to select which features of Destiny 2 they want to alter (i.e., cheat or hack) as

 7   well as features that mask their use of the cheat, as shown below:

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21          57.      When players run Defendants’ Lavicheats for Destiny 2 while playing the game,

22   the cheat substantially alters Destiny 2’s visual output and the way the game performs for the

23   cheating player.

24          58.      As a result of these modifications made by Defendants’ Lavicheats, Destiny 2

25   appears significantly different for the cheating player using the cheat than it does for legitimate

26   players. For example, when a player is using Lavicheats, additional text, numbers, images, and

27   angle/directional arrows may be displayed on the player’s screen; the colors in which other
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 1   players’ characters appear may be changed; “hit boxes” and different types of “cross-hairs” may

 2   be used; and other players’ characters may appear as outlines behind walls and other

 3   obstructions.

 4          59.      Additionally, Defendants’ Lavicheats for Destiny 2 will cause the game to

 5   perform differently for the cheating player in significant ways that provide unfair advantages as

 6   against legitimate, non-cheating players. For example, the Aimbot cheat relieves the cheating

 7   player of the need to aim at a target, as it automatically “snaps” to a target and auto fires, and

 8   even permits the player to specify which part of the body to automatically target (e.g., head,

 9   body, etc.). Also, when Defendants’ Lavicheats is being used, the cheating players may have

10   unlimited ammo (and therefore have no need to reload their weapons or collect additional

11   ammunition) or may instantly “respawn” after they are killed.

12          60.      Each time a player plays Destiny 2 while using Defendants’ Lavicheats, she or he

13   also violates Bungie’s SLA including, among others, those provisions prohibiting “hack[ing] or

14   modify[ing] [Destiny 2],” or “us[ing] any unauthorized software programs to gain advantage in

15   any online or multiplayer game modes”, and “receiv[ing] ‘boosting services,’ to advance

16   progress or achieve results that are not solely based on the account holder’s gameplay.” Upon

17   information and belief, thousands of breaches of Bungie’s SLA have occurred as a direct result

18   of Defendants’ activities.

19          61.      Upon information and belief, Defendants at all relevant times have been and are

20   aware that the use of cheating software or hacks—including Defendants’ Lavicheats for

21   Destiny 2—are prohibited by, and therefore violate, Bungie’s SLA. Defendants’ emphasis in

22   marketing and promoting their Lavicheats of the alleged undetectability of their cheats and their

23   references to bans for players caught cheating—including referencing bans by Bungie

24   specifically—are admissions that Defendants are aware that players using Lavicheats with

25   Destiny 2 are violating their agreement (i.e., the SLA) with Bungie.

26       Lavicheats for Destiny 2 Cause Serious, Irreparable, and Ongoing Harm to Bungie

27          62.      Defendants’ activities described herein have caused, and are continuing to cause,
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 1   serious, irreparable, and ongoing harm to Bungie and the Destiny 2 community, including but

 2   not limited to the following:

 3                    (a)    Defendants significantly and irreparably harm the ability of legitimate

 4   players of Destiny 2 to experience and enjoy the online, multiplayer shared-world experience

 5   meticulously created by Bungie, including the gameplay skills developed by legitimate players;

 6                    (b)    As a result, in part, of the first harm, Defendants’ activities cause

 7   significant harm to Bungie’s reputation and the goodwill Bungie has developed amongst the

 8   Destiny 2 community, impacting the growth of Destiny 2’s player base, and harming Bungie to a

 9   degree difficult or impossible to recompense solely with money damages; and

10                    (c)    As a consequence of the arms-race that exists between Bungie and cheats-

11   sellers like Defendants, Bungie is forced to spend substantial sums of money and redirect

12   significant resources to remediate the injuries caused by Defendants’ Lavicheats for Destiny 2.

13   These efforts include, but are not limited to, continually modifying Destiny 2 and/or the anti-

14   cheat technologies to detect and combat the ever-changing cheats and hacks, investigating and

15   banning players who use Lavicheats, and responding to the complaints of legitimate players

16   whose Destiny 2 experience is devalued by the use of Lavicheats by other players.

17          63.       These harms resulting from Defendants’ activities described herein will continue

18   to be inflicted on Bungie unless and until Defendants are preliminarily and permanently enjoined

19   as requested in this action.

20                                      FIRST CAUSE OF ACTION

21                    (Trafficking in Circumvention Devices, 17 U.S.C. § 1201(a)(2))

22          64.       Bungie realleges and incorporates by reference all of the allegations set forth in

23   the preceding paragraphs as if fully set forth herein.

24          65.       Destiny 2, including but not limited to the underlying source code, screen

25   displays, artwork, and other audiovisual elements, are copyrighted works under the laws of the

26   United States.

27          66.       Bungie has designed and implemented technological measures into Destiny 2 that
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 1   effectively control access to the game, including access to the dynamic audiovisual elements that

 2   comprise the game’s virtual world and to otherwise inaccessible memory locations in which data

 3   generated by Destiny 2 is stored.

 4          67.      Defendants’ Lavicheats for Destiny 2 are comprised of or contain technologies,

 5   products, services, devices, components, or parts thereof that are primarily designed or produced

 6   for the purpose of circumventing Bungie’s technological measures that effectively control access

 7   to Destiny 2, a copyrighted work protected under the Copyright Act.

 8          68.      Defendants’ Lavicheats for Destiny 2 have no commercially significant purpose

 9   or use other than to circumvent Bungie’s technological measures that effectively control access

10   to Destiny 2, a copyrighted work protected under the Copyright Act.

11          69.      Defendants, and/or other persons or entities acting in concert with Defendants

12   with their knowledge, market the Lavicheats for Destiny 2 for use in circumventing Bungie’s

13   technological measures that effectively control access to Destiny 2, a copyrighted work protected

14   under the Copyright Act.

15          70.      As a result of the foregoing, Defendants are importing, offering to the public,

16   providing, or otherwise trafficking in a technology, product, service, device, component, or part

17   thereof that violates 17 U.S.C. § 1201(a)(2).

18          71.      Each such import, offering to the public, providing, or otherwise trafficking in

19   circumvention technology constitutes a violation of 17 U.S.C. § 1201(a)(2).

20          72.      Defendants’ actions are willful, intentional, purposeful, and in disregard of the

21   rights of Bungie.

22          73.      Defendants’ actions have caused damage to Bungie and has unjustly enriched

23   Defendants, in amounts to be proven at trial.

24          74.      Bungie is entitled to the maximum statutory damages in the amount of $2,500 per

25   violation pursuant to 17 U.S.C. § 1203(c)(3)(A). Alternatively, Bungie is entitled to its actual

26   damages and Defendants’ profits attributable to their violations of 17 U.S.C. § 1201 pursuant to

27   17 U.S.C. § 1203(c)(1), (2).
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 1          75.      As a result of Defendants’ actions described herein, Bungie has suffered, and will

 2   continue to suffer, irreparable injury for which there is no adequate remedy at law. Upon

 3   information and belief, unless enjoined by this Court, Defendants will continue their unlawful

 4   activities in violation of 17 U.S.C. § 1201. Bungie, therefore, is entitled to injunctive relief to

 5   enjoin Defendants’ ongoing unlawful conduct pursuant to 17 U.S.C. § 1203(b).

 6          76.      Bungie is further entitled to its attorneys’ fees and costs of this action pursuant to

 7   17 U.S.C. § 1203(b).

 8                                    SECOND CAUSE OF ACTION

 9                   (Contributory Copyright Infringement, 17 U.S.C. § 101 et seq.)

10          77.      Bungie realleges and incorporates by reference all of the allegations set forth in

11   the preceding paragraphs as if fully set forth herein.

12          78.      Destiny 2, including the underlying source code, client files, screen displays,

13   artwork, and other audiovisual elements, constitutes an original work of authorship and

14   copyrightable subject matter under the laws of the United States.

15          79.      Bungie is the owner of, or has exclusive rights in, the copyrights in Destiny 2.

16          80.      Users of Defendants’ Lavicheats for Destiny 2 have copied, reproduced, adapted,

17   and/or created derivative works from, and continue to copy, reproduce, adapt, and/or create

18   derivative works from, Bungie’s copyrighted work, Destiny 2, without Bungie’s consent. The

19   foregoing activities constitute direct infringement of Bungie’s exclusive rights by Lavicheats’

20   users in violation of the Copyright Act, 17 U.S.C. §§ 106 and 501.

21          81.      Defendants are liable as contributory copyright infringers because they

22   intentionally induced, and continue to induce, the direct infringement of the Lavicheats users as

23   described herein. Among other actions, Defendants induce users of Defendants’ Lavicheats for

24   Destiny 2 to copy, reproduce, adapt, and/or create derivative works from Bungie’s copyrighted

25   works because when Lavicheats users download, install, and use the cheating software, they alter

26   the gameplay and presentation of Destiny 2.

27          82.      Defendants are also liable as contributory copyright infringers because they know
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 1   of, and materially contribute to, the direct infringement of Lavicheats users as described herein.

 2   Among other activities, Defendants materially contribute to the direct infringement of Destiny 2

 3   by selling, distributing, or otherwise making available the Lavicheats for Destiny 2, instructing

 4   users on how to install and use the Lavicheats, providing support services for installation and use

 5   of the Lavicheats for Destiny 2, and otherwise enabling users to use the Lavicheats for Destiny 2

 6   to copy, reproduce, adapt, and/or create derivative works from Bungie’s copyrighted works.

 7          83.      Defendants’ actions were and are intentional, willful, wanton, and performed in

 8   disregard of Bungie’s rights.

 9          84.      Bungie is entitled to injunctive relief pursuant to 17 U.S.C. § 502. Bungie has no

10   adequate remedy at law for Defendants’ wrongful conduct because, among other things,

11   (a) Bungie’s copyrights are unique and valuable property which have no readily determinable

12   market value, (b) Defendants’ continued infringement harms Bungie such that Bungie could not

13   be made whole by any monetary award, and (c) Defendants’ wrongful conduct, and the resulting

14   damage to Bungie, is continuing.

15          85.      Bungie has been and will continue to be damaged, and Defendants have been

16   unjustly enriched, by Defendants’ unlawful infringement of Bungie’s copyrighted works. Bungie

17   is entitled to its actual damages and Defendants’ profits, in amounts to be proven at trial,

18   pursuant to 17 U.S.C. § 504(b).

19          86.      Alternatively, Bungie is entitled to the maximum statutory damages of $150,000

20   per infringed work for willful infringement pursuant to 17 U.S.C. § 504(c)(2).

21          87.      Bungie is also entitled to recover its attorneys’ fees and costs of suit pursuant to

22   17 U.S.C. § 505.

23                                     THIRD CAUSE OF ACTION

24                      (Vicarious Copyright Infringement, 17 U.S.C. § 101 et seq.)

25          88.      Bungie realleges and incorporates by reference all of the allegations set forth in

26   the preceding paragraphs as if fully set forth herein.

27          89.      Destiny 2, including the underlying source code, client files, screen displays,
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 1   artwork, and other audiovisual elements, constitute original works of authorship and

 2   copyrightable subject matter under the laws of the United States.

 3          90.      Bungie is the owner of, or has exclusive rights in, the copyrights in Destiny 2.

 4          91.      Users of Defendants’ Lavicheats for Destiny 2 have copied, reproduced, adapted,

 5   and/or created derivative works from, and continue to copy, reproduce, adapt, and/or create

 6   derivative works from, Bungie’s copyrighted work, Destiny 2, without Bungie’s consent. The

 7   foregoing activities constitute direct infringement of Bungie’s exclusive rights by Lavicheats’

 8   users in violation of the Copyright Act, 17 U.S.C. §§ 106 and 501.

 9          92.      Defendants are liable as vicarious copyright infringers because they have the right

10   and ability to supervise and control the infringing activities that occur as a result of users’

11   download, installation, and/or use of Defendants’ Lavicheats and, at all relevant times, have

12   derived direct and substantial financial benefits from the direct infringement of the Lavicheats

13   users. Nonetheless, Defendants refused, and continue to refuse, to take reasonably available steps

14   to stop the infringement. To the contrary, Defendants take active steps to encourage and facilitate

15   the infringement by providing support and advice regarding the download, installation, and use

16   of the Lavicheats to avoid detection by Bungie. Defendants’ entire business model is based on

17   encouraging and facilitating the infringements by Lavicheats users.

18          93.      As a result, Defendants are vicariously liable for the direct infringement by

19   Lavicheats users as described herein.

20          94.      Defendants’ actions were and are intentional, willful, wanton, and performed in

21   disregard of Bungie’s rights.

22          95.      Bungie is entitled to injunctive relief pursuant to 17 U.S.C. § 502. Bungie has no

23   adequate remedy at law for Defendants’ wrongful conduct because, among other things,

24   (a) Bungie’s copyrights are unique and valuable property which have no readily determinable

25   market value, (b) Defendants’ continued infringement harms Bungie such that Bungie could not

26   be made whole by any monetary award, and (c) Defendants’ wrongful conduct, and the resulting

27   damage to Bungie, is continuing.
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 1          96.      Bungie has been and will continue to be damaged, and Defendants have been

 2   unjustly enriched, by Defendants’ unlawful infringement of Bungie’s copyrighted works. Bungie

 3   is entitled to its actual damages and Defendants’ profits, in amounts to be proven at trial,

 4   pursuant to 17 U.S.C. § 504(b).

 5          97.      Alternatively, Bungie is entitled to the maximum statutory damages of $150,000

 6   per infringed work for willful infringement pursuant to 17 U.S.C. § 504(c)(2).

 7          98.      Bungie is also entitled to recover its attorneys’ fees and costs of suit pursuant to

 8   17 U.S.C. § 505.

 9                                     FOURTH CAUSE OF ACTION

10                              (Trademark Infringement, 15 U.S.C. § 1114)

11          99.      Bungie realleges and incorporates by reference all of the allegations set forth in

12   the preceding paragraphs as if fully set forth herein.

13          100.     Bungie is the owner of the federally registered DESTINY & design mark, U.S.

14   Reg. No. 4,321,315.

15          101.     Defendants’ use of the DESTINY & design mark in the marketing, advertising,

16   promotion and sale of, or otherwise in connection with, Defendants’ Lavicheats for Destiny 2, is

17   likely to cause confusion or mistake, or deception as to the source, origin, affiliation, or

18   endorsement of Defendants’ Lavicheats.

19          102.     Defendants’ use of the DESTINY & design mark as described herein constitutes

20   infringement of Bungie’s trademark rights in its registered mark under 15 U.S.C. § 1114.

21          103.     Bungie has been, and continues to be, irreparably damaged by the actions of

22   Defendants alleged herein in a manner that cannot be fully measured or compensated in

23   monetary damages and for which there is no adequate remedy at law. Bungie is therefore entitled

24   to preliminary and permanent injunctive relief under 15 U.S.C. § 1116 restraining and enjoining

25   Defendants, and their agents, employees, and all persons acting in concert with them or on their

26   behalf, from using in commerce Bungie’s DESTINY & design mark or any colorable imitation

27   thereof.
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 1          104.     Defendants’ conduct and continuation of such conduct is knowing, willful and

 2   deliberate, and in conscious disregard of Bungie’s rights in and to the DESTINY & design mark,

 3   making this an exceptional case within the meaning of 15 U.S.C. § 1117(a) and entitling Bungie

 4   to an award of its reasonable attorneys’ fees.

 5          105.     Bungie is entitled to the relief provided in 15 U.S.C. § 1117(a), including but not

 6   limited to, Bungie’s actual damages (which should be trebled), Defendants’ profits, and the costs

 7   of this action in amounts to be proven at trial.

 8                                     FIFTH CAUSE OF ACTION

 9             (False Designation of Origin and Unfair Competition, 15 U.S.C. § 1125(a))

10          106.     Bungie realleges and incorporates by reference all of the allegations set forth in

11   the preceding paragraphs as if fully set forth herein.

12          107.     As a result of Bungie’s extensive and continuous use in commerce of its

13   DESTINY Marks in connection with the Destiny franchise, Bungie has established significant

14   consumer recognition of, and rights to, its DESTINY Marks.

15          108.     Defendants’ use of the DESTINY Marks in the marketing, advertising, promotion

16   and sale of, or otherwise in connection with, the Lavicheats for Destiny 2, constitutes false

17   designation of origin and unfair competition under 15 U.S.C. § 1125(a) that is likely to cause

18   confusion, mistake, or deception as to (a) the affiliation, connection or association of Defendants

19   with Bungie, and/or (b) the origin, sponsorship or approval of Defendants’ Lavicheats by

20   Bungie.

21          109.     Bungie has been, and continues to be, irreparably damaged by the actions of

22   Defendants alleged herein in a manner that cannot be fully measured or compensated in

23   monetary damages and for which there is no adequate remedy at law. Bungie is therefore entitled

24   to preliminary and permanent injunctive relief under 15 U.S.C. § 1116 restraining and enjoining

25   Defendants, and their agents, employees, and all persons acting in concert with them or on their

26   behalf, from using in commerce Bungie’s DESTINY Marks or any colorable imitation thereof.

27          110.     Defendants’ conduct and continuation of such conduct is knowing, willful and
                                                                                          focal PLLC
       COMPLAINT                                                                    900 1st Ave. S., Suite 201
       (Case No. 2:21-cv-1111) – 24                                                Seattle, Washington 98134
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 1   deliberate, and in conscious disregard of Bungie’s rights in and to the DESTINY Marks, making

 2   this an exceptional case within the meaning of 15 U.S.C. § 1117(a) and entitling Bungie to an

 3   award of its reasonable attorneys’ fees.

 4          111.     Bungie is entitled to the relief provided in 15 U.S.C. § 1117(a), including but not

 5   limited to, Bungie’s actual damages (which should be trebled), Defendants’ profits, and the costs

 6   of this action in amounts to be proven at trial.

 7                                     SIXTH CAUSE OF ACTION

 8              (Violation of Washington Consumer Protection Act, RCW 19.86 et seq.)

 9          112.     Bungie realleges and incorporates by reference all of the allegations set forth in

10   the preceding paragraphs as if fully set forth herein.

11          113.     Defendants’ activities described herein, including but not limited to Defendants’

12   interference with Bungie’s contractual relationships with its users, exploitation of Bungie’s

13   intellectual property to unjustly enrich themselves at Bungie’s expense, and unauthorized use of

14   Bungie’s trademarks, constitute unfair methods of competition and unfair and deceptive acts or

15   practices, which are damaging to the public interest in violation of RCW 19.86.020.

16          114.     Defendants’ unfair methods of competition and unfair and deceptive acts or

17   practices occur in the context of Defendants’ regularly conducted business or business practices.

18          115.     Defendants’ activities described herein have injured, and will continue to cause

19   injury to, Bungie in its business or property, including the loss of sales, users, and goodwill.

20          116.     Defendants’ actions contravene the public interest since there is a strong public

21   interest in having a marketplace free from deceptive acts and practices. Additionally, upon

22   information and belief, Defendants offer more than 15 different video game cheats spanning

23   multiple game franchises from other developers, including but not limited to Apex Legends,

24   Overwatch, Call of Duty, Rainbow Six, League of Legends, Fortnite, Rust, and Valorant. As a

25   result, Defendants’ actions described herein have the capacity to deceive substantial portions of

26   the public, including but not limited to players of Destiny 2 and any other games for which

27   Defendants market, promote, distribute, or sell cheats or hacks.
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       COMPLAINT                                                                    900 1st Ave. S., Suite 201
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 1          117.     Defendants’ actions further contravene the public interest since there is a strong

 2   public interest in computer security and safety. Upon information and belief, Defendants’ cheat

 3   software products induce users to disable antivirus and other protective measures and obtain low-

 4   level access to system resources that can transform unwitting users’ personal computers into

 5   proxies for illegal activity and/or render them vulnerable to malicious software.

 6          118.     As a result of Defendants’ unfair methods of competition and unfair and deceptive

 7   acts or practices, Bungie has been damaged in an amount to be proven at trial and Bungie will

 8   continue to be irreparably damaged if Defendants’ wrongful conduct is permitted to continue.

 9          119.     Pursuant to RCW 19.86.090, Bungie is entitled to its actual damages, which

10   should be trebled, together with its costs of suit and reasonable attorneys’ fees, and an injunction

11   restraining Defendants’ unfair business practices.

12                                    SEVENTH CAUSE OF ACTION

13                        (Tortious Interference With Contractual Relationship)

14          120.     Bungie realleges and incorporates by reference all of the allegations set forth in

15   the preceding paragraphs as if fully set forth herein.

16          121.     As described herein, at all relevant times, in order to install and play Destiny 2,

17   users must first agree to Bungie’s SLA.

18          122.     Bungie’s agreements with its users are valid and enforceable.

19          123.     Each time a user of Defendants’ Lavicheats uses the cheats in connection with

20   Destiny 2, she or he breaches Bungie’s SLA. Upon information and belief, thousands of such

21   breaches of the SLA by Defendants’ customers have occurred.

22          124.     Upon information and belief, at all relevant times, Defendants were and are aware

23   of the existence and relevant terms of the SLA between Bungie and its users, including but not

24   limited to those terms prohibiting players from using Defendants’ Lavicheats and other such

25   cheats and hacks in connection with Destiny 2 and that players risk being banned if caught using

26   such cheats and hacks.

27          125.     Upon information and belief, despite this knowledge, Defendants have
                                                                                           focal PLLC
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 1   intentionally encouraged, induced, and assisted the purchase, download, installation, and use of

 2   the Lavicheats for Destiny 2, knowing that the use of Defendants’ Lavicheats by their customers

 3   is a breach of those customers’ agreement with Bungie.

 4          126.     Upon information and belief, Defendants’ interference with Bungie’s agreement

 5   with its users as described herein was accomplished for an improper purpose and the means used

 6   were wrongful and predatory in nature.

 7          127.     By inducing, encouraging and assisting Bungie’s users to breach their agreement

 8   with Bungie, Defendants have intentionally interfered, and continue to interfere, with the

 9   agreements between Bungie and its players.

10          128.     As a proximate result of Defendants’ actions described herein, Bungie has

11   suffered damages in amounts to be proven at trial, including but not limited to the loss of

12   goodwill among Bungie’s players, diversion of Bungie’s resources to the detection, prevention,

13   and remediation of Defendants’ Lavicheats for Destiny 2, decreased profits, and a loss of profits

14   from players whose accounts Bungie has terminated for violation of the SLA.

15          129.     Defendants have further unjustly obtained proceeds attributable to the sale of the

16   Lavicheats for Destiny 2 in the United States, and any other products or services that violate any

17   of Bungie’s rights described herein. Those proceeds, which are directly attributable to

18   Defendants’ misuse and unlawful exploitation of Bungie’s Destiny 2 game and intentional

19   interference with Bungie’s agreements with its players, rightfully and equitably belong to

20   Bungie.

21          130.     Bungie has been, and continues to be, irreparably damaged by the actions of

22   Defendants alleged herein in a manner that cannot be fully measured or compensated in

23   monetary damages and for which there is no adequate remedy at law. Bungie is therefore entitled

24   to preliminary and permanent injunctive relief restraining and enjoining Defendants, and their

25   agents, employees, and all persons acting in concert with them or on their behalf, from

26   interfering with the agreements between Bungie and its users, as well as imposition of a

27   constructive trust over Defendants’ wrongfully obtained proceeds.
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       COMPLAINT                                                                   900 1st Ave. S., Suite 201
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 1                                     EIGHTH CAUSE OF ACTION

 2                                           (Unjust Enrichment)

 3           131.    Bungie realleges and incorporates by reference all of the allegations set forth in

 4   the preceding paragraphs as if fully set forth herein.

 5           132.    Defendants’ activities as alleged herein constitute unjust enrichment of the

 6   Defendants at the expense of Bungie.

 7           133.    Defendants have received, and continue to receive a monetary benefit from

 8   Bungie’s Destiny 2 players that purchase Defendants’ Lavicheats and the corresponding

 9   inequitable exploitation of Bungie’s property, namely, Destiny 2 and the servers on which it

10   runs.

11           134.    Defendants received, and continue to receive, this benefit at Bungie’s expense.

12           135.    Under the circumstances, it would be unjust for Defendants to retain the benefit

13   and as a result, Bungie seeks an accounting and disgorgement of Defendants’ ill-gotten profits in

14   amounts to be proved at trial.

15                                         PRAYER FOR RELIEF

16           WHEREFORE, Bungie respectfully requests that judgment be entered in its favor on

17   each of the claims stated herein and against Defendants, and that it be awarded relief that

18   includes, but is not limited to, an order:

19           1.      Preliminarily and permanently enjoining Defendants, their officers, employees,

20   agents, representatives, subsidiaries, affiliates, distributors, and all persons or entities acting in

21   concert with them, from:

22                   A.      importing, offering to the public, marketing, selling, providing,

23   distributing or otherwise trafficking in circumvention technology, including but not limited to the

24   Lavicheats for Destiny 2;

25                   B.      inducing, contributing to, or facilitating third-party infringements of

26   Bungie’s copyrighted works;

27                   C.      infringing Bungie’s registered and common law trademarks or falsely
                                                                                             focal PLLC
       COMPLAINT                                                                       900 1st Ave. S., Suite 201
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 1   representing or suggesting Bungie’s approval, sponsorship, or endorsement, or otherwise

 2   suggesting Bungie’s affiliation with Defendants or Defendants’ Lavicheats for Destiny 2;

 3                   D.      intentionally interfering with Bungie’s agreements with its Destiny 2

 4   players; and

 5                   E.      engaging in unfair methods of competition and unfair and deceptive acts

 6   or practices with respect to Bungie;

 7          2.       Requiring Defendants to immediately and permanently cease all development,

 8   marketing, promotion, advertising, support, distribution, or other similar action of the Lavicheats

 9   for Destiny 2 on the Lavicheats Website and any other domain, address, location or platform;

10          3.       Requiring Defendants to deliver to Bungie all copies of materials that have been

11   made or used in violation of any of Bungie’s rights described herein;

12          4.       Requiring the destruction of all technology, devices, products, components, or

13   parts thereof involved in the violation of 17 U.S.C. § 1201 that are in the custody or control of

14   Defendants and/or which may be impounded by the Court pursuant to 17 U.S.C. § 1203(b);

15          5.       Requiring Defendants to provide Bungie an accounting of all sales of the

16   Lavicheats for Destiny 2 in the United States and any other products or services that are

17   determined to violate any of Bungie’s rights described herein;

18          6.       Awarding Bungie its actual damages as well as Defendants’ profits from

19   Defendants’ violations of 17 U.S.C. § 1201 pursuant to 17 U.S.C. § 1203(c)(1) and (2), or,

20   alternatively, awarding Bungie maximum statutory damages of $2,500 per violation of

21   17 U.S.C. § 1201 pursuant to 17 U.S.C. § 1203(c)(3);

22          7.       Awarding Bungie its actual damages and Defendants’ profits attributable to the

23   infringement of Bungie’s copyrighted works pursuant to 17 U.S.C. § 504(b), or, alternatively,

24   maximum statutory damages of $150,000 per infringed work for willful copyright infringement

25   pursuant to 17 U.S.C. § 504(c);

26          8.       Awarding Bungie its actual damages—which should be trebled—and Defendants’

27   profits for Defendants’ trademark infringement and false designation of origin and unfair
                                                                                         focal PLLC
       COMPLAINT                                                                   900 1st Ave. S., Suite 201
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 1   competition under the Lanham Act, and Defendants’ violations of the Washington Consumer

 2   Protection Act pursuant to, respectively, 15 U.S.C. § 1117 and RCW 19.86.090;

 3          9.       Awarding Bungie its damages against Defendants on Bungie’s claims for tortious

 4   interference with contractual relations and unjust enrichment;

 5          10.      Imposing a constructive trust over the proceeds unjustly obtained by Defendants

 6   through the sales of the Lavicheats for Destiny 2 in the United States and any other products or

 7   services that are determined to violate any of Bungie’s rights described herein;

 8          11.      Awarding Bungie its full costs of suit, including but not limited to, reasonable

 9   attorneys’ fees, as permitted by law;

10          12.      Awarding prejudgment interest as permitted by law; and

11          13.      Such other relief as the Court deems just and proper.

12   Dated this 18th day of August, 2021.              Respectfully submitted,

13                                                     FOCAL PLLC

14                                                By: s/ Stacia N. Lay
15                                                    s/ Venkat Balasubramani
                                                      Stacia N. Lay, WSBA #30594
16                                                    Venkat Balasubramani, WSBA #28269
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                                                  Attorneys for Plaintiff Bungie, Inc.
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 1                                     DEMAND FOR JURY TRIAL

 2           Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff Bungie, Inc.

 3   demands trial by jury in this action of all issues so triable.

 4   DATED: August 18, 2021                              s/ Stacia N. Lay
                                                         Stacia N. Lay, WSBA #30594
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Mail Certificate


Perkins Coie LLP
Patchen M. Haggerty
P.O. Box 2608
Seattle, WA 98111 United States




                               Priority: Special Handling               Application Date: February 10, 2021
Note to C.O.: Copyright application is for the multimedia elements of a videogame. Deposit materials include a written
synopsis of the videogame, sound recordings, a video of gameplay, and a series of pictorial images to represent the
audiovisual elements. The artwork in the deposit is collective as a whole of the videogame.


Correspondent



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                          Telephone:       (206)359-8000
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                                                                                    Registration Number
                                                                                    PA 2-280-030
                                                                                    Effective Date of Registration:
                                                                                    February 10, 2021
                                                                                    Registration Decision Date:
                                                                                    March 05, 2021




    Title
                         Title of Work:     Destiny 2: Beyond Light


    Completion/Publication
                   Year of Completion:      2020
                Date of 1st Publication:    November 10, 2020
               Nation of 1st Publication:   United States

    Author

                     •       Author:        Bungie, Inc.
                      Author Created:       audiovisual material including music and sounds
                   Work made for hire:      Yes
                           Citizen of:      United States

                     •       Author:        Activision Publishing, Inc.
                      Author Created:       contributions to audiovisual material
                   Work made for hire:      Yes
                           Citizen of:      United States

    Copyright Claimant

                   Copyright Claimant:      Bungie, Inc.
                                            550 106th Ave NE, Suite 207, Bellevue, WA, 98004, United States
                    Transfer statement:     By written agreement
1
    Limitation of copyright claim

      Material excluded from this claim:    preexisting audiovisual material, music compositions and sound recordings from
                                            previous versions of "Destiny 2" videogame

        New material included in claim:     audiovisual material including musical compositions and sounds
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     Rights and Permissions
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             Organization Name:     Bungie Legal Department, Bungie, Inc.
                          Email:    legal@bungie.com
                        Address:    550 106th Ave NE
                                    Suite 207
                                    Bellevue, WA 98004 United States

Certification

                           Name:    Patchen M. Haggerty
                            Date:   February 10, 2021
    Applicant's Tracking Number:    139303-6000.US04
                            Date:   February 10, 2021
                                    Approved
                Correspondence:     Yes




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Limited Software License Agreement (Last updated March 6, 2020)


For all purposes, this English language version of this Agreement shall be the original,
governing instrument and understanding of the parties. In the event of any conflict between
this English language version of the Agreement and any subsequent translation into any
other language, this English language version shall govern and control.


IMPORTANT NOTICE FOR RESIDENTS IN NORTH AMERICA ONLY: THIS
AGREEMENT IS SUBJECT TO BINDING ARBITRATION
AND A WAIVER OF CLASS ACTION RIGHTS AS DETAILED BELOW.
SOFTWARE LICENSE AGREEMENT


USE OF THIS SOFTWARE PROGRAM (AND ANY PATCHES AND UPDATES),
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OBJECTS, CHARACTERS, CHARACTER NAMES, STORIES, DIALOG, CATCH
PHRASES, LOCATIONS, CONCEPTS, ARTWORK, ANIMATION, SOUNDS, MUSICAL
COMPOSITIONS, AUDIO-VISUAL EFFECTS, METHODS OF OPERATION, MORAL
RIGHTS AND ANY RELATED DOCUMENTATION INCORPORATED INTO THIS
SOFTWARE PROGRAM, THE ASSOCIATED MEDIA, PRINTED MATERIALS,
AND/OR ONLINE OR ELECTRONIC DOCUMENTATION (COLLECTIVELY, THE
“PROGRAM”) IS SUBJECT TO THIS SOFTWARE LICENSE AGREEMENT (THIS
“AGREEMENT”). IF YOU ARE UNDER THE AGE OF MAJORITY IN YOUR
JURISDICTION OR EIGHTEEN (18) YEARS OF AGE, WHICHEVER IS OLDER,
PLEASE ASK YOUR PARENT OR GUARDIAN TO READ AND ACCEPT THIS
AGREEMENT ON YOUR BEHALF BEFORE YOU USE THE PROGRAM. BY
OPENING THIS PACKAGE, DOWNLOADING, INSTALLING, AND/OR USING THE
PROGRAM, YOU ACCEPT THE TERMS OF THIS AGREEMENT BETWEEN YOU
AND BUNGIE, INC. (“BUNGIE”). IF YOU DO NOT AGREE TO THE TERMS OF THIS
AGREEMENT, YOU ARE NOT PERMITTED TO INSTALL, COPY, OR USE THE
PROGRAM. IF YOU WISH TO REJECT THE TERMS OF THIS AGREEMENT, YOU
MUST NOT INSTALL, COPY, OR USE THE PROGRAM.


BUNGIE’S PRIVACY POLICY AVAILABLE AT
http://www.bungie.net/en/View/bungie/privacy SHALL BE DEEMED TO BE PART OF
THE “AGREEMENT” ACCEPTED AND AGREED TO BY YOU AND THE TERMS OF
SUCH ARE INCORPORATED HEREIN BY REFERENCE.


FOR RESIDENTS OUTSIDE NORTH AMERICA: IF YOU (OR, IF APPLICABLE,
YOUR PARENT OR GUARDIAN) DO NOT AGREE TO THIS AGREEMENT, THEN
YOU MUST NOT USE OR ACCESS THE PROGRAM OR ANY PART THEREOF. BY
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“CLICKING TO ACCEPT,” YOU REPRESENT AND WARRANT THAT YOU ARE A
“NATURAL PERSON” WHO IS OVER THE AGE OF EIGHTEEN (18) OR WHOSE
LEGAL GUARDIAN HAS ACCEPTED AND AGREED TO THIS AGREEMENT. IF
YOU REJECT THIS AGREEMENT, YOUR RETURN RIGHTS IN RELATION TO THE
PROGRAM ARE GOVERNED BY YOUR STATUTORY RIGHTS IN THE COUNTRY
WHERE YOU BOUGHT THE PROGRAM. NOTHING IN THIS PARAGRAPH SHALL
AFFECT YOUR STATUTORY RIGHTS. PLEASE NOTE THAT YOUR RIGHTS IN
RESPECT OF ONLINE SERVICES AND LIVE CONTENT ARE COVERED IN
SECTIONS BELOW. YOUR USE OF THE PROGRAM SHALL BE SUBJECT TO THE
TERMS OF BUNGIE’S PRIVACY POLICY AVAILABLE AT
http://www.bungie.net/en/View/bungie/privacy.


SERVICES AND TERMS OF USE: USE OF CERTAIN FEATURES OF THE PROGRAM,
INCLUDING ONLINE OR MULTIPLAYER COMPONENTS, OR UPDATED
FEATURES, MAY REQUIRE ASSENT TO ADDITIONAL TERMS OF SERVICE. IF
YOU DO NOT ASSENT TO ADDITIONAL TERMS OF SERVICE, YOU MAY NOT BE
ABLE TO ACCESS OR USE ADDITIONAL GAME FEATURES. PLEASE REVIEW
THE ADDITIONAL TERMS OF SERVICE AT
http://www.bungie.net/en/View/Bungie/terms BEFORE INSTALLING OR USING THE
PROGRAM.


LIMITED USE LICENSE: Bungie grants you the non-exclusive, personal, non-transferable,
limited right and license to install and use one copy of this Program solely for your non-
commercial use. All rights not specifically granted are reserved by Bungie. The Program is
licensed, not sold, for your use. Your license confers no title or ownership in this Program,
and should not be construed as a sale of any rights in this Program. This Agreement shall
also apply to patches or updates you may obtain for the Program, unless that patch or update
is accompanied by additional terms as provided in the section regarding “Changes to the
Agreement” below.


LICENSE CONDITIONS: This license is subject to the following limitations ("License
Limitations"). Any use of the Program in violation of the License Limitations will result in
an immediate termination of your license, and continued use of the Program will be an
infringement of Bungie’s copyrights in and to the Program. You agree that you will not do, or
allow, any of the following: (1) exploit this Program or any of its parts commercially; (2) use
this Program on more than one computer/console at the same time; (3) copy, reproduce,
distribute, display or use any part of this Program except as expressly authorized by Bungie
herein; (4) copy this Program onto a hard drive or other storage device unless the Program
itself makes a copy during installation, or unless you are downloading this Program from an
authorized Bungie online reseller; (5) use the Program in a network, multi-user arrangement,
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or remote access arrangement, including any online use except as included in the Program
functionality; (6) sell, rent, lease, license, distribute, or otherwise transfer this Program or
any copies thereof; (7) reverse engineer, derive source code, modify, decompile, disassemble,
or create derivative works of this Program, in whole or in part; (8) hack or modify the
Program, or create, develop, modify, distribute, or use any unauthorized software programs
to gain advantage in any online or multiplayer game modes; (9) receive or provide “boosting
services,” to advance progress or achieve results that are not solely based on the account
holder’s gameplay, (10) remove, disable, or circumvent any proprietary notices or labels
contained on or within the Program; (11) export or re-export this Program in violation of any
applicable laws or regulations of the United States government. VIOLATION OF THESE
LICENSE CONDITIONS BY YOU OR ANY THIRD PARTY USING YOUR ACCOUNT
MAY RESULT IN A SUSPENSION OR BAN, IN ADDITION TO ALL OTHER
REMEDIES AVAILABLE TO BUNGIE.


LIVE AND TIME-LIMITED GAME ELEMENTS: Your use of the Program involves
interaction with Bungie’s live game environment. The Program and its live game
environment change over time. Bungie does not guarantee that you will be able to participate
in all events or earn all in-game achievements. Access to some Live Content may require
additional purchase. Some in-game elements, including without limitation, Live Content
associated with season passes, are made available to players for a limited time. Where
season pass Live Content is time-limited, Bungie will use reasonable efforts to communicate
this to you within the Program or otherwise. Bungie may extend the time-limit for Live
Content, including season passes, at its option with or without advanced notice. Fees
charged for time-limited content are based on access to the applicable content during the
time period indicated at the time of purchase, and apply whether or not you actually access
the content. Season pass rewards earned during a given season must be redeemed during that
season, unless Bungie elects to provide a grace period for redemption in its sole discretion.


OWNERSHIP: All title, ownership rights, and intellectual property rights in and to the
Program and any copies thereof are owned by Bungie. This Program is protected by the
copyright laws of the United States, international copyright treaties, and conventions and
other laws. This Program contains certain licensed materials, and Bungie’s licensors may
protect their rights in the event of any violation of this Agreement.


PATCHES AND UPDATES: Bungie may deploy or provide patches, updates, and
modifications to the Program that must be installed for you to continue to use the Program.
Bungie may update the Program remotely without notifying you, and you hereby grant to
Bungie consent to deploy and apply such patches, updates, and modifications.
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LIMITED WARRANTY: Bungie warrants to the original consumer purchaser of this
Program that the physical media on which this Program is stored and any physical
accessories (together the “Goods”) will be free from defects in material and workmanship for
90 days from the date of purchase. If the Goods are found defective within 90 days of
original purchase, Bungie agrees to replace, free of charge, any such defective Goods within
such period, upon its receipt of the Program (postage paid, with proof of the date of
purchase) so long as the Goods are still being manufactured by Bungie. If the Goods are no
longer available, Bungie retains the right to substitute similar goods of equal or greater value.
This warranty is limited to the Goods, as originally provided by Bungie, and is not applicable
to normal wear and tear. This warranty shall not be applicable, and shall be void, if the defect
has arisen through abuse, mistreatment, or neglect. Any implied warranties prescribed by
statute are expressly limited to the 90-day period described above. EXCEPT AS SET
FORTH HEREIN, THIS WARRANTY IS IN LIEU OF ALL OTHER WARRANTIES,
EXPRESS OR IMPLIED.
For customers in EU and other countries: This warranty is provided without prejudice to
your statutory rights as a consumer which will always prevail. Bungie will only be
responsible for any loss or damage you suffer that is a foreseeable result of the breach of this
Agreement by Bungie or its negligence. Nothing in this Agreement shall limit or exclude
our liability for death or personal injury resulting from negligence, fraudulent
misrepresentation; or any other liability that cannot be excluded or limited by English law.
This section shall prevail over all other parts of this Agreement.
LIMITATION ON DAMAGES: IN NO EVENT WILL BUNGIE BE LIABLE FOR
SPECIAL, INCIDENTAL, OR CONSEQUENTIAL DAMAGES RESULTING FROM
POSSESSION, USE, OR MALFUNCTION OF THE PROGRAM, INCLUDING
DAMAGES TO PROPERTY, LOSS OF GOODWILL, COMPUTER FAILURE OR
MALFUNCTION AND, TO THE EXTENT PERMITTED BY LAW, DAMAGES FOR
PERSONAL INJURIES, EVEN IF BUNGIE HAS BEEN ADVISED OF THE
POSSIBILITY OF SUCH DAMAGES. BUNGIE’S LIABILITY SHALL NOT EXCEED
THE ACTUAL PRICE PAID FOR THE LICENSE TO USE THIS PROGRAM. SOME
STATES/COUNTRIES DO NOT ALLOW LIMITATIONS ON HOW LONG AN IMPLIED
WARRANTY LASTS AND/OR THE EXCLUSION OR LIMITATION OF DAMAGES, SO
THE ABOVE LIMITATIONS AND/OR EXCLUSIONS MAY NOT APPLY TO YOU.
THIS WARRANTY GIVES YOU SPECIFIC LEGAL RIGHTS, AND YOU MAY HAVE
OTHER RIGHTS WHICH VARY FROM JURISDICTION TO JURISDICTION.


TERMINATION: Without prejudice to any other rights of Bungie, this Agreement will
terminate automatically if you fail to comply with its terms and conditions. In such event,
you must destroy all copies of this Program and all of its component parts. You may also
terminate the Agreement at any time by permanently deleting any installation of the
Program, and destroying all copies of the Program in your possession or control. Bungie
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may terminate this Agreement at any time for any reason or no reason. In such event, you
must destroy all copies of the Program and all of its component parts. The License
Limitations, limitation on damages, limited warranty, indemnity, and miscellaneous
provisions shall survive termination of this Agreement.


U.S. GOVERNMENT RESTRICTED RIGHTS: The Program has been developed entirely at
private expense and are provided as "Commercial Computer Software" or "restricted
computer software." Use, duplication or disclosure by the U.S. Government or a U.S.
Government subcontractor is subject to the restrictions set forth in subparagraph (c)(1)(ii) of
the Rights in Technical Data and Computer Software clauses in DFARS 252.227-7013 or as
set forth in subparagraph (c)(1) and (2) of the Commercial Computer Software Restricted
Rights clauses at FAR 52.227-19, as applicable. The Contractor/Manufacturer is Bungie,
Inc., 550 106th Ave NE #207, Bellevue, Washington 98004.


INJUNCTION: Because Bungie would be irreparably damaged if the terms of this
Agreement were not specifically enforced, you agree that Bungie shall be entitled, without
bond, other security, or proof of damages, to appropriate equitable remedies with respect to
breaches of this Agreement, in addition to such other remedies as Bungie may otherwise
have under applicable laws.


INDEMNITY: You agree to indemnify, defend, and hold Bungie, its partners, affiliates,
licensors, contractors, officers, directors, employees, and agents harmless from all damages,
losses and expenses arising directly or indirectly from your breach of this Agreement and/or
your acts and omissions in using the Program pursuant to the terms of this Agreement.


CHANGES TO THE AGREEMENT: Except for the sections regarding “BINDING
ARBITRATION” and “CLASS ACTION WAIVER” below, Bungie reserves the right, at its
sole discretion, to change, modify, add to, supplement or delete any of the terms and
conditions of this Agreement, at any time and by any means, including, without limitation,
(1) by posting the modifications to http://bungie.net/sla; and/or (2) by requiring you to “click
to accept” when Bungie upgrades or patches the Program, and your continued use of the
Program constitutes your acceptance of the modifications. The changes to the Agreement
will be effective upon prior notice as follows: Bungie will post the revised version of this
Agreement on its website, may include the terms with a patch or update and require
acceptance as part of the installation process, or may provide such other notice as Bungie
may elect in its sole discretion. If any future changes to this Agreement are unacceptable to
you or cause you to no longer be in compliance with this Agreement, you may terminate this
Agreement and receive a refund in accordance with this Agreement. Your installation and
use of any of Bungie’s updates, patches or modifications to the Program or your continued
use of the Program following notice of changes to this Agreement will demonstrate your
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acceptance of any and all such changes. If any future modifications are implemented as a
“click to accept” agreement, you may not be able to continue using the Program unless you
affirmatively accept the modified Agreement.


LIVE CONTENT: “Live Content" consists of content provided to Program users (e.g.,
unlockable content, gear, live events, activities, destinations, accounts, stats, virtual assets,
virtual currencies, codes, and achievements) in connection with use of the Program. While
the Program may allow you to “earn”, "buy", or "purchase" Live Content within or in
connection with gameplay, you do not in fact own or have any property interest in the Live
Content. Unless otherwise specified in writing, any Live Content that you receive is licensed
to you as set forth herein, and you shall have no ownership right thereto. Unless specifically
permitted by Bungie, you may not, sell, lend, rent, trade, or otherwise transfer any Live
Content. Live Content may be altered, removed, deleted, or discontinued by Bungie at any
time (e.g., upon termination of this Agreement and/or cessation of online support for the
Program), even if you have not “used” or “consumed” the Live Content prior to alteration,
removal, deletion, or discontinuation. Some Live Content, including without limitation,
activities, maps, and gear, may be made available to players for only a limited time. Live
Content has no monetary value and does not constitute property of any type.
Without limiting the above, Live Content may include virtual coins, points or other virtual
currencies (“Virtual Currency”). By purchasing or otherwise acquiring Virtual Currency, you
obtain a limited license (which is revocable by Bungie at any time unless otherwise required
by applicable laws) to access and select from other Live Content. Virtual Currency has no
monetary value and does not constitute currency or property of any type. Virtual Currency
may be redeemed for other Live Content only, if at all. Virtual Currency cannot be sold or
transferred, and cannot be exchanged for cash or for any other goods and services, except for
other Live Content, where applicable. Subject to applicable local law, Virtual Currency is
non-refundable. You are not entitled to a refund or any other compensation such as Live
Content for any unused Virtual Currency and unused Virtual Currency is non-exchangeable.
There may be Live Content (should you choose to purchase it) which will require you to
make a payment with real money, the amount of which will be set out in the Program. Live
Content purchases are non-refundable and you acknowledge that this is the case and that you
will have no right to change your mind and cancel (sometimes known as a 'cooling off' right)
once your purchase is complete. Depending on your platform, any Live Content purchased,
may be purchased from your platform provider and such purchase will be subject to your
platform provider’s Terms of Service and User Agreement. Please check usage rights for
each purchase as these may differ from item to item. Unless otherwise shown, content
available in any game store has the same age rating as the game.


For SIEA users: When accessing the Program on a Sony PlayStation® product, purchase
and use of items are subject to Sony’s Network Terms of Service and User Agreement. This
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online service has been sublicensed to you by Sony Interactive Entertainment America.


For SIEE users: When accessing the Program on a Sony PlayStation® product, any content
purchased in an in-game store will be purchased from Sony Interactive Entertainment
Network Europe Limited (“SIENE”) and be subject to PlayStation™Network Terms of
Service and User Agreement which is available on the PlayStation®Store. Please check
usage rights for each purchase as these may differ from item to item. Unless otherwise
shown, content available in any in-game store has the same age rating as the game.


AVAILABILITY:


For residents in North America: Bungie does not guarantee that any online services, play or
features associated with the Program (collectively, “Online Services”) or Live Content will
be available at all times or at any given time or that Bungie will continue to offer Online
Services or Live Content for any particular length of time. Bungie may change and update
Online Services or Live Content without notice to you. Bungie makes no warranty or
representation regarding the availability of Online Services and reserves the right to modify
or discontinue Online Services in its sole discretion without notice, including for example,
ceasing an Online Service for economic reasons due to a limited number of users continuing
to make use of the Online Service over time. NOTWITHSTANDING ANYTHING TO THE
CONTRARY, YOU ACKNOWLEDGE AND AGREE THAT ONLINE SERVICES MAY
BE TERMINATED IN WHOLE OR IN PART AT BUNGIE’S SOLE DISCRETION
WITHOUT NOTICE TO YOU. IN CONNECTION WITH ONLINE SERVICES’
TERMINATION, YOUR ABILITY TO ACCESS, USE AND PLAY THE PROGRAM
MAY BE TERMINATED IN ITS ENTIRETY, AND ANY AND ALL LIVE CONTENT
LICENSED TO YOU MAY BE TERMINATED. YOU ASSUME ANY AND ALL RISK
OF LOSS ASSOCIATED WITH THE TERMINATION OF ONLINE SERVICES AND
ANY LOSS OF LIVE CONTENT OR OTHERWISE.


For residents outside North America: Subject to the next sentence, Bungie does not
guarantee that any Online Services or Live Content will be available or error-free at all times
or at any given time. Bungie warrants that the Program, in addition to any Live Content
which has been paid-for with real money, will substantially comply with the description
provided by it at the point of purchase and be of satisfactory quality (in addition any related
services provided through them will be provided with reasonable care and skill). Bungie
may change and update Online Services or Live Content without notice to you (provided
always that any such changes do not result in material degradation in the functionality of the
Program or any Live Content which has been paid-for with real money). Bungie makes no
warranty or representation regarding the availability of Online Services and/or Live Content
which are free (i.e. not paid-for with real money) and each reserve the right to modify or
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discontinue them in its sole discretion without notice to you, including for example, for
economic reasons due to a limited number of users continuing to make use of them over
time. Bungie is not liable or responsible for any failure to perform, or delay in performance
of, any of its obligations that is caused by events outside its reasonable control. If such
circumstances result in material degradation in the functionality of the Program or Live
Content then your obligation to make any payment to download, use or access them will be
suspended for the duration of such period. Bungie is entitled to modify or discontinue Online
Services and/or Live Content which are paid-for with real money in its sole discretion upon
reasonable notice to you. The warranty for such Online Services and/or Live Content is
provided in accordance with your statutory rights as a consumer which will always prevail.
For residents in North America-- BINDING ARBITRATION AND CLASS ACTION
WAIVER:


READ THIS SECTION CAREFULLY. IT MAY SIGNIFICANTLY AFFECT YOUR
LEGAL RIGHTS, INCLUDING YOUR RIGHT TO FILE A LAWSUIT IN COURT.


These BINDING ARBITRATION AND CLASS ACTION WAIVER provisions apply to you
if you are domiciled in and/or acquired and use the Program in the United States. These
provisions may also apply to you if you are domiciled in and/or acquired and use the
Program from outside the United States. See JURISDICTION AND APPLICABLE LAW
below for details.


Either party may initiate binding arbitration as the sole means to formally resolve claims,
subject to the terms set forth below. Specifically, all claims arising out of or relating to this
Agreement (including its interpretation, formation, performance and breach), the parties'
relationship with each other and/or your use of the Program shall be finally settled by
binding arbitration administered by JAMS in accordance with the provisions of its
Comprehensive Arbitration Rules or Streamlined Arbitrations Rules, as appropriate,
excluding any rules or procedures governing or permitting class actions. This arbitration
provision is made pursuant to a transaction involving interstate commerce, and the Federal
Arbitration Act (the "FAA") shall apply to the interpretation, applicability, enforceability and
formation of this Agreement notwithstanding any other choice of law provision contained in
this Agreement. The arbitrator, and not any federal, state, or local court or agency, shall have
exclusive authority to resolve all disputes arising out of or relating to the interpretation,
applicability, enforceability, or formation of this Agreement, including without limitation any
claim that all or any part of this Agreement is void or voidable, or whether a claim is subject
to arbitration. The arbitrator shall be empowered to grant whatever relief would be available
in a court under law or in equity. The arbitrator's award shall be binding on the parties and
may be entered as a judgment in any court of competent jurisdiction.
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The JAMS Rules governing the arbitration may be accessed at http://www.jamsadr.com/ or
by calling JAMS at (800) 352-5267. Your arbitration fees and your share of arbitrator
compensation shall be governed by the JAMS Comprehensive Arbitration Rules and, to the
extent applicable, the Consumer Minimum Standards, including the then-current limit on
arbitration filing fees. To the extent the filing fee for the arbitration exceeds the cost of filing
a lawsuit, Bungie will pay the additional cost. The parties understand that, absent this
mandatory provision, they would have the right to sue in court and have a jury trial. They
further understand that, in some instances, the costs of arbitration could exceed the costs of
litigation and the right to discovery may be more limited in arbitration than in court.


Location: If you are a resident of the United States, arbitration will take place at any
reasonable location within the United States convenient for you. For residents outside the
United States, arbitration shall be initiated in King County, Washington, and you agree to
submit to the personal jurisdiction of any federal or state court in King County, Washington,
in order to compel arbitration, to stay proceedings pending arbitration, or to confirm, modify,
vacate, or enter judgment on the award entered by the arbitrator.


Class Action Waiver: The parties further agree that any arbitration shall be conducted in
their individual capacities only and not as a class action or other representative action, and
the parties expressly waive their right to file a class action or seek relief on a class basis.
YOU, ON THE ONE HAND, AND BUNGIE, ON THE OTHER HAND, AGREE THAT
EACH MAY BRING CLAIMS AGAINST THE OTHER ONLY IN YOUR OR THEIR
INDIVIDUAL CAPACITY, AND NOT AS A PLAINTIFF OR CLASS MEMBER IN ANY
PURPORTED CLASS OR REPRESENTATIVE PROCEEDING. If any court or arbitrator
determines that the class action waiver set forth in this paragraph is void or unenforceable for
any reason or that an arbitration can proceed on a class basis, then the arbitration provision
set forth above shall be deemed null and void in its entirety and the parties shall be deemed
to have not agreed to arbitrate disputes.


Exception - Litigation of Intellectual Property and Small Claims Court Claims:
Notwithstanding the parties' decision to resolve all disputes through arbitration, either party
may bring an action in state or federal court that only asserts claims for patent infringement
or invalidity, copyright infringement, moral rights violations, trademark infringement, and/or
trade secret misappropriation, but not, for clarity, claims related to the license granted to you
for the Program under this Agreement. Either party may also seek relief in a small claims
court for disputes or claims within the scope of that court's jurisdiction.


30 Day Right to Opt Out: You have the right to opt-out and not be bound by the arbitration
and class action waiver provisions set forth in the "Binding Arbitration," "Location," and
"Class Action Waiver" paragraphs above by sending written notice of your decision to opt-
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out to the following address: Bungie, Inc., 550 106th Ave NE #207, Bellevue, Washington
98004, Attn: Legal. The notice must be sent within 30 days of purchasing the Program (or if
no purchase was made, then within 30 days of the date on which you first access or use the
Program and agree to these terms); otherwise you shall be bound to arbitrate disputes in
accordance with the terms of those paragraphs. If you opt-out of these arbitration provisions,
Bungie also will not be bound by them.


Changes to this Section: Bungie will provide 60-days’ notice of any changes to these
sections regarding “BINDING ARBITRATION” and “CLASS ACTION WAIVER.”
Changes will become effective on the 60th day and will apply prospectively only to any
claims arising after the 60th day.


MISCELLANEOUS: This Agreement is the complete agreement concerning this license
between the parties and supersedes all prior agreements and representations between them. If
any provision of this Agreement is held to be unenforceable for any reason, such provision
shall be reformed only to the extent necessary to make it enforceable and the remaining
provisions of this Agreement shall not be affected. To the extent permitted by applicable law:
(i) this Agreement shall be construed under Washington law as such law is applied to
agreements between Washington residents entered into and to be performed within
Washington, except as governed by federal law, and (ii) you consent to the exclusive
jurisdiction of the state and federal courts in King County, Washington.
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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                     Western District
                                                    __________        of of
                                                               District  Washington
                                                                            __________

         BUNGIE, INC., a Delaware corporation                           )
                                                                        )
                                                                        )
                                                                        )
                            Plaintiff(s)                                )
                                                                        )
                                v.                                            Civil Action No. 2:21-cv-1111
                                                                        )
          KUNAL BANSAL, an individual, d/b/a                            )
              LAVICHEATS.COM; and                                       )
              DOES 1-30, INCLUSIVE                                      )
                                                                        )
                           Defendant(s)                                 )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) KUNAL BANSAL, d/b/a LAVICHEATS.COM




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Stacia N. Lay
                                           Venkat Balasubramani
                                           Focal PLLC
                                           900 1st Ave. S., Suite 201
                                           Seattle, WA 98134


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                 CLERK OF COURT


Date:
                                                                                           Signature of Clerk or Deputy Clerk
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AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 2:21-cv-1111

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




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AO 121 (Rev. 06/16)
TO:

                   Register of Copyrights                                                              REPORT ON THE
                    U.S. Copyright Office                                                      FILING OR DETERMINATION OF AN
                 101 Independence Ave. S.E.                                                           ACTION OR APPEAL
                 Washington, D.C. 20559-6000                                                       REGARDING A COPYRIGHT



     In compliance with the provisions of 17 U.S.C. 508, you are hereby advised that a court action or appeal has been filed
on the following copyright(s):
                                                                         COURT NAME AND LOCATION
        G
        ✔ ACTION               G APPEAL                                   United States District Court Western District of Washington
DOCKET NO.                          DATE FILED                            700 Stewart Street, Suite 2310
        2:21-cv-1111                          8/18/2021                   Seattle, WA 98101
PLAINTIFF                                                                             DEFENDANT
BUNGIE, INC.                                                                          KUNAL BANSAL, d/b/a LAVICHEATS.COM; and DOES
                                                                                      1-30



       COPYRIGHT
                                                                TITLE OF WORK                                                 AUTHOR OR WORK
    REGISTRATION NO.

1 PA 2-280-030                       Destiny 2: Beyond Light                                                        Bungie, Inc.

2 PA 2-282-670                       Destiny 2                                                                      Bungie, Inc.

3 TX 8-933-655                       Destiny 2                                                                      Bungie, Inc.

4 TX 8-933-658                       Destiny 2: Beyond Light                                                        Bungie, Inc.

5



      In the above-entitled case, the following copyright(s) have been included:
DATE INCLUDED                       INCLUDED BY
                                             G Amendment                 G Answer               G Cross Bill              G Other Pleading
       COPYRIGHT
                                                                TITLE OF WORK                                                 AUTHOR OF WORK
    REGISTRATION NO.

1

2

3                                                                         .


    In the above-entitled case, a final decision was rendered on the date entered below. A copy of the order or judgment
together with the written opinion, if any, of the court is attached.
COPY ATTACHED                                                    WRITTEN OPINION ATTACHED                                        DATE RENDERED

            G Order            G Judgment                                     G Yes        G No

CLERK                                                            (BY) DEPUTY CLERK                                               DATE



                      1) Upon initiation of action,               2) Upon filing of document adding copyright(s),        3) Upon termination of action,
                         mail copy to Register of Copyrights         mail copy to Register of Copyrights                     mail copy to Register of Copyrights
DISTRIBUTION:
                      4) In the event of an appeal, forward copy to Appellate Court               5) Case File Copy



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AO 120 (Rev. 08/10)

                            Mail Stop 8                                                     REPORT ON THE
TO:
         Director of the U.S. Patent and Trademark Office                           FILING OR DETERMINATION OF AN
                           P.O. Box 1450                                            ACTION REGARDING A PATENT OR
                    Alexandria, VA 22313-1450                                                 TRADEMARK

                 In Compliance with 35 U.S.C. § 290 and/or 15 U.S.C. § 1116 you are hereby advised that a court action has been
         filed in the U.S. District Court United States District Court Western District of Washington                  on the following
                                            700 Stewart Street, Suite 2310
      G Trademarks or         G
                              ✔ Patents. ( G the patent action involves 35 U.S.C. § 292.):
                                         Seattle, WA 98101
DOCKET NO.                        DATE FILED                      U.S. DISTRICT COURT
       2:21-cv-1111                        8/18/2021               United States District Court Western District of Washington
PLAINTIFF                                                          700 Stewart Street, Suite 2310
                                                                         DEFENDANT
                                                                   Seattle, WA 98101
 BUNGIE, INC.                                                             KUNAL BANSAL, d/b/a LAVICHEATS.COM; and DOES
                                                                          1-30


        PATENT OR                      DATE OF PATENT
                                                                                     HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
1 4,321,315                                4/16/2013                Bungie, Inc.

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                                In the above—entitled case, the following patent(s)/ trademark(s) have been included:
DATE INCLUDED                     INCLUDED BY
                                                       G
                                                     Amendment                G   Answer        G   Cross Bill      G    Other Pleading
        PATENT OR                      DATE OF PATENT
                                                                                     HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
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                      In the above—entitled case, the following decision has been rendered or judgement issued:
DECISION/JUDGEMENT




CLERK                                                      (BY) DEPUTY CLERK                                            DATE



Copy 1—Upon initiation of action, mail this copy to Director Copy 3—Upon termination of action, mail this copy to Director
Copy 2—Upon filing document adding patent(s), mail this copy to Director Copy 4—Case file copy


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 1                                                                 HONORABLE THOMAS S. ZILLY

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 7                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE
 9
     BUNGIE, INC., a Delaware corporation,             Case No. 2:21-cv-1111-TSZ
10
             Plaintiff,
11                                                     PLAINTIFF BUNGIE, INC.’S EX PARTE
     v.                                                MOTION FOR ALTERNATIVE SERVICE
12
     KUNAL BANSAL, an individual, d/b/a
13   LAVICHEATS.COM; and DOES 1-30,
     inclusive,
14
             Defendants.
15

16          Pursuant to Federal Rule of Civil Procedure 4(f)(3), Plaintiff Bungie, Inc. seeks leave to

17   effectuate service of process upon Defendant Kunal Bansal by (1) email and (2) posting to the

18   forum on the website operated by Defendant (lavicheats.com). Bungie’s request complies with

19   Rule 4(f)(3) because service by these methods does not contravene any international agreement

20   governing service of process and is reasonably calculated to give notice to Bansal.

21                                     FACTUAL BACKGROUND

22   A.     Bungie and Defendants’ Distribution and Sale of “Cheats” and “Hacks”

23          Bungie is the owner of the online, multiplayer first-person shooter video game franchise

24   “Destiny”, including the most recent chapter in the franchise, “Destiny 2.” (Dkt. 1 at ¶ 1.)

25   Defendant Kunal Bansal—via the website he operates, Lavicheats.com (the “Lavicheats

26   Website”)—markets, distributes, sells, and offers support for software “cheats” or “hacks” for

27   Destiny 2 that give players using them an unfair advantage. (Dkt. 1 at ¶¶ 2, 5.)
                                                                                        focal PLLC
      PLAINTIFF’S EX PARTE MOTION FOR ALTERNATIVE SERVICE                         900 1st Ave. S., Suite 201
      (Case No. 2:21-cv-1111-TSZ) – 1                                            Seattle, Washington 98134
                                                                                  telephone (206) 529-4827
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 1             Based on Bungie’s investigation, Bansal – sometimes using the alias “Lavi” or the user

 2   name “kunalbansal” – conducts his business marketing, selling, distributing, and supporting the

 3   cheating software for Destiny 2 entirely online via the Lavicheats Website and other online

 4   platforms where the Lavicheats are promoted and supported. (Declaration of Allison Nixon in

 5   Support of Plaintiff’s Ex Parte Motion for Alternative Service ¶¶ 3-6.) Customers select and

 6   purchase the cheating software via the Lavicheats Website online store, pay for the cheating

 7   software via online payment processors, and are directed to download the cheating software once

 8   the license key is validated. (Id. ¶ 4; Dkt. 1 at ¶¶ 44-46, 54-55.) The Lavicheats Website does not

 9   include any physical address for the business or Bansal nor does it identify any business entity as

10   the owner or operator of the website and its business. Lavicheats also does not appear to be a

11   registered business entity based on Bungie’s investigation to date. (Nixon Decl. ¶ 7.) Similarly,

12   the public “Whois” data for the Lavicheats Website domain name reflects that the domain is

13   registered using a “privacy” service that hides the address of the registrant. (Id. ¶ 8.)

14             On August 18, 2021, Bungie filed its Complaint against Bansal (and Doe Defendants)

15   alleging claims for trafficking in circumvention devices under the Digital Millennium Copyright

16   Act, contributory and vicarious copyright infringement, trademark infringement and other

17   violations of the Lanham Act, as well as claims under Washington law. (See generally Dkt. 1.)

18   B.        Bungie’s Efforts to Discover a Physical Address for Bansal Have Been Unsuccessful

19             As part of its investigation of Defendants’ cheating software for Destiny 2, Bungie

20   identified Bansal (a/k/a “Lavi”) as the individual primarily responsible for the operation of the

21   Lavicheats Website through which the Lavicheats for Destiny 2 are marketed and sold. (Nixon

22   Decl. ¶¶ 3-5.) Bungie has not been able to locate a physical address for Bansal, only that he is

23   believed to live in or near Bathinda, India. (Id. ¶¶ 5, 7.) Bathinda, a district in Punjab province,

24   has a population of more than 1.3 million people, and the population of Bathinda city proper is

25   more than 280,000 people.1

26
       1   According to the most recent Census of India information available, the population of the
27
                                                                                          focal PLLC
      PLAINTIFF’S EX PARTE MOTION FOR ALTERNATIVE SERVICE                           900 1st Ave. S., Suite 201
      (Case No. 2:21-cv-1111-TSZ) – 2                                              Seattle, Washington 98134
                                                                                    telephone (206) 529-4827
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 1   C.     Bungie’s Identification of Alternative Means to Notify Bansal

 2          While its attempts to locate Bansal’s physical address have been unsuccessful, Bungie

 3   has found an email address associated with Bansal and the Lavicheats Website. (Nixon

 4   Decl. ¶¶ 7-9.) The email address – kunalbansal922@gmail.com – was identified by reviewing

 5   information provided by the domain name registrant for the Lavicheats Website as the point of

 6   contact for technical issues related to the domain. (Id. ¶ 9.) Subsequent investigation identified

 7   an active telephone number tied to Bansal, which in turn was associated with that email address.

 8   (Id. ¶ 10.) Bungie has also determined that the email address is active, as an email sent to the

 9   address did not “bounce” back nor was it otherwise flagged as undeliverable. (Id. ¶¶ 11-12.)

10          Additionally, the Lavicheats Websites hosts several public discussion forums, including

11   one—the “MediaSection” forum—to which it appears visitors may post. (Declaration of Stacia

12   N. Lay in Support of Plaintiff’s Ex Parte Motion for Alternative Service ¶¶ 4-5, Ex. 2.) Bansal,

13   using the alias “Lavi”, is identified as an administrator on the Lavicheats Website and is

14   currently active and a frequent poster on the website. (Lay Decl. ¶ 3, Ex. 1.)

15                                             ARGUMENT

16          Under FED. R. CIV. P. 4(f)(3), courts have discretion to allow service on a foreign party

17   by alternative means if the proposed method of service is not prohibited by an international

18   agreement and satisfies constitutional due process standards. Rio Properties, Inc. v. Rio Int’l

19   Interlink, 284 F.3d 1007, 1015-16 (9th Cir. 2002). As detailed below, serving Bansal by email

20   and posting to the Lavicheats Website forum satisfies both elements. Additionally, “[p]arties are

21   not required to attempt service by other methods before petitioning the court for alternative

22   service of process[.]” Rubie’s Costume Co v. Yiwu Hua Hao Toys Co., No. 2:18-cv-01530-RAJ,

23   2019 U.S. Dist. LEXIS 204380, *4 (W.D. Wash. Nov. 25, 2019); see also Rio Properties, 284

24
     Bathinda district was 1,388,525 people and that of Bathinda city was 285,788. See
25   https://www.census2011.co.in/census/district/599-bathinda.html (last visited Aug. 12, 2021);
     https://www.census2011.co.in/census/city/16-bathinda.html (same). Such census information is
26   subject to judicial notice. See Reed v. Gen. Mills, Inc., No. C19-0005-JCC, 2019 U.S. Dist.
     LEXIS 99388, *9 (W.D. Wash. June 13, 2019).
27
                                                                                        focal PLLC
      PLAINTIFF’S EX PARTE MOTION FOR ALTERNATIVE SERVICE                         900 1st Ave. S., Suite 201
      (Case No. 2:21-cv-1111-TSZ) – 3                                            Seattle, Washington 98134
                                                                                  telephone (206) 529-4827
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 1   F.3d at 1015 (rejecting argument that Rule 4(f) establishes a hierarchy of preferred methods of

 2   service and noting that Rule 4(f)(3) “includes no qualifiers or limitations which indicate its

 3   availability only after attempting service of process by other means”).

 4   A.     Serving by Email and Forum Post Does Not Contravene International Agreements

 5          There is no international agreement prohibiting service by the means requested. The

 6   Hague Convention on the Service Abroad of Judicial and Extrajudicial Documents (“Hague

 7   Convention”) does not apply when a foreign defendant’s physical address is unknown, and as a

 8   result, does not prohibit service of such a defendant by email or website posting. See Convention

 9   of 15 November 1965 on the Service Abroad of Judicial and Extrajudicial Documents in Civil or

10   Commercial Matters, Art. I, available at https://www.hcch.net/en/instruments/conventions/full-

11   text/?cid=17 (last visited Aug. 12, 2021) (“This Convention shall not apply where the address of

12   the person to be served with the document is not known.”).

13          Even if the Hague Convention were relevant here – which it is not, because Bungie has

14   been unable to locate Bansal’s physical address – the Court can still authorize service by email

15   and website posting. See Richmond Techs., Inc. v. Aumtech Bus. Solutions, No. 11-CV-02460-

16   LHK, 2011 U.S. Dist. LEXIS 71269, *40 (N.D. Cal. July 1, 2011) (“[N]umerous courts have

17   authorized alternative service under Rule 4(f)(3) even where the Hague Convention applies. This

18   is true even in cases involving countries that, like India, have objected to the alternative forms of

19   service permitted under Article 10 of the Hague Convention.”); see also Gurung v. Malhotra,

20   279 F.R.D. 215, 220 (S.D.N.Y. 2011) (approving of email service despite India’s objection to

21   Article 10 of the Hague Convention relating to service by “postal channels” because “India did

22   not expressly object to electronic mail as a means of service”).

23   B.     Service by Email and Forum Post Meets the Constitutional Due Process Standard

24          Service comports with due process if it is “reasonably calculated, under all the

25   circumstances, to apprise interested parties of the pendency of the action and afford them an

26   opportunity to present their objections.” Rio Properties, 284 F.3d at 1016-17 (internal quotation

27   marks omitted). The Ninth Circuit has interpreted Rule 4(f)(3) to allow service on foreign
                                                                                         focal PLLC
      PLAINTIFF’S EX PARTE MOTION FOR ALTERNATIVE SERVICE                          900 1st Ave. S., Suite 201
      (Case No. 2:21-cv-1111-TSZ) – 4                                             Seattle, Washington 98134
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 1   defendants by email consistent with due process where they cannot be reached by other means or

 2   have no known physical address. Id. at 1017-18. Similarly, courts have authorized service by

 3   social media and online posting. See, e.g., Assef v. Doe, No. 15-cv-01960-MEJ, 2016 U.S. Dist.

 4   LEXIS 41597, *11 (N.D. Cal. Mar. 28, 2016) (approving of service by email and blog post).

 5          In Rio Properties, for example, the court found that email was the service method “most

 6   likely to reach” a defendant who operated a website from Costa Rica with no discoverable street

 7   address in the United States or Costa Rica, and who only provided an email address for contact

 8   information. 284 F.3d at 1017-18. The defendant “had neither an office nor a door; it had only a

 9   computer terminal. If any method of communication is reasonably calculated to provide

10   [defendant] with notice, surely it is email – the method of communication which [defendant]

11   utilizes and prefers.” Id. at 1018. Similarly, the court allowed email service on defendants

12   located in China “given [plaintiff’s] showing that Defendants’ address is unknown but active

13   email addresses are available and that email reasonably is calculated to provide Defendants

14   notice of the lawsuit and comport with due process.” Will Co. v. Lee, No. C20-5802 BHS, 2021

15   U.S. Dist. LEXIS 15621, *3-4 (W.D. Wash. Jan. 27, 2021) (noting that plaintiff sent messages to

16   the email addresses and, while no responses were received, the emails “did not bounce back”).

17          Other decisions have found that email service is permissible and does not raise due

18   process concerns where, as here, the plaintiff “has made a reasonable effort to locate a physical

19   address for service” but has been unsuccessful. See, e.g., Word Ape, LLC v. Pawico, No. 2:20-cv-

20   01768-DWC, 2021 U.S. Dist. LEXIS 37825, *8-9 (W.D. Wash. Jan. 4, 2021) (noting that the

21   plaintiff had made such a reasonable effort, including attempting to serve the address the

22   corporate defendant listed on its website and using a national business registry to determine if

23   defendant was registered in any state); see also Amazon.com Inc. v. Sirowl Tech., No. 2:20-cv-

24   01217-RSL-JRC, 2020 U.S. Dist. LEXIS 228235, *7-8 (W.D. Wash. Dec. 4, 2020) (finding

25   email service permissible as plaintiffs “demonstrated an inability to obtain a valid physical

26   address for defendants and that defendants conduct business through the internet,” such that

27   email service would provide sufficient notice).
                                                                                       focal PLLC
      PLAINTIFF’S EX PARTE MOTION FOR ALTERNATIVE SERVICE                        900 1st Ave. S., Suite 201
      (Case No. 2:21-cv-1111-TSZ) – 5                                           Seattle, Washington 98134
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 1          Courts have similarly approved of service by social media and website posts where, as

 2   here, such service appeared to be the “only available means of contacting” the defendants and

 3   such methods were “reasonably calculated to give notice under the circumstances because it

 4   appears Defendants may have actively concealed their identities.” Assef, 2016 U.S. Dist. LEXIS

 5   41597 at *11 (approving service by email and posting to the blog at issue in the case); see also

 6   Word Ape, 2021 U.S. Dist. LEXIS 37825 at *8-9 (approving of service by email and message via

 7   defendant’s Facebook store page); FTC v. PCCare247 Inc., No. 12 Civ. 7189 (PAE), 2013 U.S.

 8   Dist. LEXIS 31969, *6-19 (S.D.N.Y. Mar. 7, 2013) (approving service by email and Facebook of

 9   post-complaint documents on defendants in India under FED. R. CIV. P. 4(f)(3)).

10          Here, Bungie has searched publicly available information and used other investigative

11   tools but has been unable to locate a physical address for Bansal where service can be performed.

12   (Nixon Decl. ¶¶ 7-8.) The only contact information for service it has been able to locate is the

13   email address which Bansal uses in connection with the Lavicheats Website, and Bungie has

14   verified that an email to the address does not “bounce” back and is not otherwise returned as

15   undeliverable. (Id. ¶¶ 9-12.) Similarly, a forum post to the Lavicheats Website—for which

16   Bansal is the administrator—is reasonably calculated to provide notice to him, particularly when

17   combined with email service. Under these circumstances, service by electronic means appears to

18   be the only means of providing Bansal with notice of this lawsuit. See Rio Properties, 284 F.3d

19   at 1018 (noting that, “when faced with an international ebusiness scofflaw, . . . email may be the

20   only means of effecting service of process”). For clarity, either method of service (email or

21   forum post) alone is permissible and comports with due process. Bungie seeks leave to serve by

22   both methods only to ensure that all reasonable steps have been made to provide effective notice.

23                                            CONCLUSION

24          For the foregoing reasons, Bungie respectfully requests that the Court authorize Bungie

25   to serve Bansal with the Summons and Complaint by (a) sending copies to the email address

26   identified herein, and (b) posting a link to the Summons and Complaint in the “MediaSection”

27   public discussion forum on the Lavicheats Website.
                                                                                       focal PLLC
      PLAINTIFF’S EX PARTE MOTION FOR ALTERNATIVE SERVICE                        900 1st Ave. S., Suite 201
      (Case No. 2:21-cv-1111-TSZ) – 6                                           Seattle, Washington 98134
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 1   Dated this 17th day of September, 2021.       Respectfully submitted,

 2                                                 FOCAL PLLC

 3                                             By: s/ Stacia N. Lay
                                                   s/ Venkat Balasubramani
 4                                                 Stacia N. Lay, WSBA #30594
                                                   Venkat Balasubramani, WSBA #28269
 5                                                 900 1st Avenue S., Suite 201
                                                   Seattle, Washington 98134
 6                                                 Tel: (206) 529-4827
                                                   Fax: (206) 260-3966
 7                                                 Email: stacia@focallaw.com
                                                   Email: venkat@focallaw.com
 8
                                               Attorneys for Plaintiff Bungie, Inc.
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                                                                                    focal PLLC
      PLAINTIFF’S EX PARTE MOTION FOR ALTERNATIVE SERVICE                     900 1st Ave. S., Suite 201
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 1                                                               HONORABLE THOMAS S. ZILLY

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 7                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 8                                      AT SEATTLE
 9
     BUNGIE, INC., a Delaware corporation,           Case No. 2:21-cv-1111-TSZ
10
            Plaintiff,
11                                                   ORDER GRANTING PLAINTIFF
     v.                                              BUNGIE, INC.’S EX PARTE MOTION
12                                                   FOR ALTERNATIVE SERVICE
     KUNAL BANSAL, an individual, d/b/a
13   LAVICHEATS.COM; and DOES 1-30,
     inclusive,
14
            Defendants.
15

16          THIS MATTER came before the Court on Plaintiff’s Ex Parte Motion for Alternative
17   Service (“Motion”), docket no. 7. The Court, having considered Plaintiff’s Motion and
18   supporting Declarations and being fully apprised on the matter, hereby ORDERS as follows:
19          1.     Plaintiff’s Motion is GRANTED;
20          2.     Pursuant to FED. R. CIV. P. 4(f)(3), Plaintiff is authorized to serve Defendant
21   Kunal Bansal with the Summons and Complaint by (a) sending copies to the email address
22   kunalbansal922@gmail.com, and (b) posting a link to the Summons and Complaint in the
23   “MediaSection” public discussion forum on the Lavicheats website, lavicheats.com.
24          SO ORDERED this 22nd day of September, 2021.
25

26                                                  A
                                                 Thomas S. Zilly
27                                               United States District Judge
                                                                                       focal PLLC
      ORDER GRANTING MTN FOR ALTERNATIVE SERVICE (Case No.                       900 1st Ave. S., Suite 201
      2:21-cv-1111-TSZ) – 1                                                     Seattle, Washington 98134
                                                                                 telephone (206) 529-4827
                                                                                     fax (206) 260-3966
